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 I.     Nature and Stage of the Proceedings

        This is a patent infringement action relating to the alleged infringement and invalidity of

 three patents which purportedly cover Plaintiffs’ marketed product containing bosutinib. The

 parties have completed expert discovery, including expert reports and expert deposition and are

 preparing for trial in early November. In the Scheduling Order the Court allowed Daubert

 briefing at the end of expert discovery, and Sun presents this brief in support of its Motion to

 Exclude the Testimony and Opinions of Bernhardt Trout, Ph.D.

 II.    Summary of Argument and Statement of Facts

        Dr. Trout was engaged by Plaintiffs as one of four (4) individuals to respond to the

 Opening Invalidity Report of Dr. Craig Lindsley. Specifically, Dr. Trout was asked to respond

 to Dr. Lindsley’s opinion that U.S. Patent No. 7,919,625 (“the ‘625 patent”) is invalid due to

 anticipation.1 Dr. Trout opines “a POSA reading Boschelli 2001 would not have understood it to

 disclose a pharmaceutical composition comprising bosutinib. Thus, my opinion is that Boschelli

 2001 does not anticipate the ‘625 patent.” Ex. A (Trout Rpt). ¶ 81. Sun seeks to exclude the

 opinions and testimony of Dr. Trout because he does not have the requisite knowledge, expertise

 or understanding of the pertinent art to opine on anticipation of the ‘625 patent and his opinions

 are not reliable. More specifically and explained in more detail below:

        1. Dr. Trout does not qualify as a Person of Ordinary Skill in the Art (“POSA”)

        2. Dr. Trout does not understand the process or requirements for animal studies in drug

 development

        3. Dr. Trout is unable to define “pharmaceutically acceptable composition”



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  Dr. Lindsley offers additional opinions regarding invalidity due to obviousness, lack of written
 description, enablement and indefiniteness, which are responded to by three other individuals
 retained by Plaintiffs.
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        4. Dr. Trout walks away from and contradicts the opinions expressed in his report

        5. Dr. Trout “does not have an opinion” on fundamental issues relating to his opinion

        and conclusions.

 III.   Legal Standards

        The Federal Rules of Evidence “assign to the trial judge the task of ensuring that an

 expert’s testimony both rests on a reliable foundation and is relevant to the task at hand.”

 Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993). “Rule 702 has three

 requirements: (1) the proffered witness must be an expert, i.e., must be qualified; (2) the expert

 must testify about matters requiring specific, technical or specialized knowledge, i.e., must be

 reliable; and (3) the expert’s testimony must assist the trier of fact, i.e., must be fit.” Meadows v.

 Anchor Longwall and Rebuild, Inc., 306 Fed. App’x. 781, 788 (3d Cir. 2009). The relevant

 factors to be considered when assessing the reliability of an expert’s testimony include: “(1)

 whether a method consists of a testable hypothesis; (2) whether the method has been subjected to

 peer review; (3) the known or potential rate of error; (4) the existence and maintenance of

 standards controlling the technique’s operation; (5) whether the method is generally accepted; (6)

 the relationship of the technique to methods which have been established to be reliable; (7) the

 qualifications of the expert witness testifying based on the methodology; and (8) the non-judicial

 uses to which the method has been put.” Oddi v. Ford Motor Co., 234 F.3d 136, 145 (3d Cir.

 2000) (citing In re Paoli, 35 F.3d at 742 n.8). However, the list is “nonexclusive” and “each

 factor need not be applied in every case.” Elcock v. Kmart Corp., 233 F.3d 734, 741 (3d Cir.

 2000). The party offering the expert testimony has the burden of establishing its admissibility by

 a preponderance of the evidence. Bourjaily v. United States, 483 U.S. 171, 175–76 (1987).




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        The qualification requirement examines whether the witness has “specialized knowledge

 or training sufficient to qualify him to opine on an issue within his field of expertise.” Pell v. E.I.

 DuPont De Nemours & Co., 231 F.R.D. 186, 192 (D. Del. 2005). In a patent case, an expert

 testifying on validity or infringement must have at least the expertise of a person of ordinary skill

 in the art (“POSA”). Sundance, Inc. v. DeMonte Fabricating Ltd., 550 F.3d 1356, 1363–64 (Fed.

 Cir. 2008). Further, an expert’s opinions “must be confined to [the expert’s] field” of expertise.

 Pell, 231 F.R.D. at 192. “An expert may be generally qualified but may lack qualifications to

 testify outside his area of expertise.” Calhoun, 350 F.3d 322 (holding that expert in investigating

 “aquatic related accident[s]” could testify about “different types of jet skis and their operation,”

 but not whether specific jet ski designs were safe). The more specific the opinions given, the

 more specific the knowledge required. Calhoun, 350 F.3d at 322.                   Rule 702 “clearly

 contemplates some degree of regulation of the subjects and theories about which an expert may

 testify.” Daubert, 509 U.S. at 589.


 IV.    Dr. Trout’s Opinions and Testimony Regarding Anticipation of the ‘625 Patent
        Should be Excluded

        A.      Dr. Trout is Not Qualified to Opine Regarding Anticipation of the ‘625
                Patent

                1.      Dr. Trout Does Not Qualify as a Person of Ordinary Skill in the Art

        At the outset, Dr. Trout does not qualify as a POSA under either party’s definition and

 most certainly does not qualify as a POSA under Pfizer’s definition. In his report, Dr. Trout

 notes Pfizer’s definition of a POSA is:

        someone having the knowledge of (1) an M.D. with several years of experience as
        an oncologist treating patients with CML; (2) a Ph.D. with several years of
        experience conducting research on inhibition of tyrosine kinases; and (3) a person
        with a Ph.D in medicinal chemistry, pharmacology or a related field with several



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        years of experience in drug development and formulation. See Ex. B (Trout Rpt)
        ¶25, citing D.I. 91 at 4.

        Dr. Trout goes on to note under Pfizer’s proposal, a single hypothetical individual would

 have all of the relevant experience. Ex A. (Trout Rpt.) ¶ 27. At his deposition, Dr. Trout

 admitted he is not POSA under Pfizer’s full definition and qualifies his “skill is really focused on

 the third part of that definition.” Ex. B (Trout Tr.) at 21:7-14. Under Sun’s definition Dr. Trout

 similarly fails to meet the standard for a POSA. Sun’s proposed definition is a person with:

        a high level of skill, such as an M.D. and several years of experience as an
        oncologist treating patients with CML, or a Ph.D. and several years of experience
        conducting research on inhibition of tyrosine kinases. A POSA would have
        access to and could have collated with individual with pertinent experience, such
        as medicinal chemistry, biology, pharmacology and/or drug metabolism and
        pharmacokinetics. A POSA could have a lower degree of formal education is
        such person had a high degree of expertise. D.I. 91 at 5.

        Dr. Trout does not have any experience with the treatment for CML, “outside of just

 reading the documents in this case.” Ex. B. (Trout Tr.) at 12:21-24. Prior to his engagement in

 this matter, Dr. Trout did not have a specific or detailed understanding of CML, other than

 knowing Gleevec was a pharmaceutical for the treatment of cancer. Id. at 12:25-13:12. Dr.

 Trout gained his understanding of CML (“to the extent [he has] an understanding”) from the

 ‘625 patent, the background in Dr. Lindsley’s report and some of the exhibits. Id. at 14:5-15.

 Dr. Trout admitted he does not have any experience conducting research specifically on

 inhibition of tyrosine kinases. Id. 15:12-18. Further, his background knowledge on inhibition of

 tyrosine kinases is general in terms of his study of drug development and inhibition broadly, his

 understanding is not specific as it relates to the treatment of CML, and his understanding of the

 role of inhibition of tyrosine kinases in the treatment for CML is based on his general

 educational background and the documents he reviewed for this matter. Id. at 15:19-16:19.




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 Prior to his engagement in this matter, he did not have any specific understanding of how

 tyrosine kinases and/or their inhibition were implicated in CML therapy. Id. at 16:20-16:25.

         In a patent case, an expert testifying on validity or infringement must have at least the

 expertise of a person of ordinary skill in the art (“POSA”). Sundance, Inc. v. DeMonte

 Fabricating Ltd., 550 F.3d 1356, 1363–64 (Fed. Cir. 2008) In this case, the issues call for

 consideration of evidence from the perspective of a POSA, and it would be “contradictory to

 Rule 702 to allow a witness to testify on the issue who is not qualified as a technical expert in

 that art.” Id. More specifically, “a witness not qualified in the pertinent art may not testify as an

 expert as to anticipation, or any of the underlying questions, such as the nature of the claimed

 invention, what a prior art references discloses, or whether the asserted claims read on the prior

 art reference.” Id at 1364. Based on Dr. Trout’s background and his testimony, his knowledge

 and experience do not qualify him as a POSA nor is his expertise appropriately relevant to the

 pertinent art. Dr. Trout’s testimony should be excluded as he is not qualified to opine in relation

 to the pertinent art and his testimony will not assist the trier of fact.

                 2.      Dr. Trout Fundamentally Does Not Understand the Process or
                         Requirements for Animal Studies in Drug Development

         Dr. Trout correctly notes an anticipation defense focuses on “whether a POSA would

 reasonably understand or infer that every claim element is disclosed in that reference.” Ex. A

 (Trout Rpt.) ¶31 (emphasis added). However, Dr. Trout’s testimony and misunderstanding of

 the pertinent art makes it clear he is unable to testify as to what a POSA would reasonably

 understand or infer Boschelli 2001 to disclose. Dr. Trout repeatedly makes incorrect and

 contradictory assumptions and conclusions, and fails to provide knowledge or opinions relating

 to the pertinent art.




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        Dr. Trout criticizes the Boschelli 2001 reference and determines it does not anticipate the

 ‘625 patent, because it was not clear to him “the researches took care to synthesize [bosutuinb]

 for use in animal studies such that the active compound being evaluated would be

 “pharmaceutically acceptable.” Ex. A (Trout Rpt) ¶ 68. He further criticizes Boschelli for not

 disclosing “that the research took care to procure and use pharmaceutical grade excipients when

 preparing the composition administered in the reported animal studies.” Ex. A (Trout Rpt) ¶ 74.

 The basis for his opinion is premised on a misreading of the prior art.

           A principal reference Dr. Trout relies on for this opinion is Wolff 2003.         When

 specifically confronted with the Wolff reference Dr. Trout admitted Wolff states the use of non-

 pharmaceutical grade excipients should be based on 1) scientific necessity 2) nonavailability of

 an acceptable veterinary or human pharmaceutical grade compound and 3) specific review and

 approval by the IACUC. Ex. B. (Trout Tr.) at 79:14-21. In line with the disclosure of Wolff,

 Dr. Trout was asked what im Boschelli would lead him to believe there was a scientific necessity

 to use non-pharmaceutical grade excipients. His response was “I would say it the other way

 around.    There was not a scientific necessity for Boschelli to use pharmaceutical grade

 compounds.” Ex. B. (Trout Tr.) at 79:23-80:7. This is directly contradictory to Wolff, the very

 reference Dr. Trout relies upon to justify his opinions. Dr. Trout’s misinterpretation of Wolff

 highlights his lack of understanding of the basics relating to animal research.

        Dr. Trout’s misunderstanding is understandable given he has never conducted animal

 research. Further, he admitted he did not consult with any of his colleagues who conduct animal

 research to determine their standard practice. Ex. B. (Trout Tr.) at 81:18-23. Dr. Trout could not

 state whether a POSA in the art reading Boschelli would believe it was more likely than not that

 the TWEEN 80 used in Boschelli was pharmaceutical grade, only that there was no indication it



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 was pharmaceutical grade. Ex. B. (Trout Tr.) at 92:11-93:2. However, based on Wolff and other

 references, it is clear a POSA would reasonably understand or infer pharmaceutical grade

 excipients were used, because that is the standard and there was no indication otherwise. See Ex.

 C (Wolff).

        Dr. Trout concedes a pharmaceutical composition according to the ‘625 patent includes

 compositions formulated for use in animal laboratory research. The Boschelli reference is

 directed to use of a composition in just such a context. However, Dr. Trout has never done

 research in laboratory animals and has never read the two governing documents setting out the

 standards for laboratory research in animals. Ex. B. (Trout Tr.) at 36:25-38:21. Not surprisingly,

 when confronted with questions regarding the requirements relating to animal research, Dr. Trout

 repeatedly responded with “I don’t have an opinion on that.” See Ex. B (Trout Tr. 106:18-

 108:18). Specifically, Dr. Trout was asked whether researchers working with laboratory animals

 have a duty to ensure the research causes the least possible harm to the animal - Dr. Trout did not

 have an opinion. Dr. Trout did also did not have an understanding as to the requirements for

 providing veterinary care to laboratory animals. and did not have an opinion

        A POSA reading the Boschelli reference would have an understanding of the

 requirements for conducting laboratory research and it would have informed their understanding

 and inference of what the Boschelli reference discloses. Dr. Trout is unable to, and indeed does

 not, provide any reliable opinions on what a POSA would reasonably understand or infer

 Boschelli to be disclosing about the composition used in the animal studies. As such, Dr. Trout

 lacks the necessary knowledge and understanding of the pertinent art to testify in this matter and

 his testimony should be excluded.

        B.      Dr. Trout Is Unable to Define “Pharmaceutically Acceptable Composition”



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        The opinion Dr. Trout purports to offer is exceedingly narrow, namely that the Boschelli

 reference does not say the composition it uses to inhibit tumors in mice is a “pharmaceutically

 acceptable” composition. In fact, Dr. Trout never offers the opinion the composition of Boschelli

 is not pharmaceutically acceptable. See e.g. Ex. B (Trout Tr.) at 151:24-152:11. It is not

 surprising he is unable to reach that conclusion given Dr. Trout was unable to define the criteria

 one would have to meet to arrive at a “pharmaceutically acceptable” composition.

        Dr. Trout offered the opinion Boschelli does not disclose a “pharmaceutically acceptable”

 composition because (1) the bosutinib was likely not pure; and (2) Boschelli does not disclose the

 excipients used were pharmaceutical grade excipients. Ex. A (Trout Rpt.) ¶¶66-74.2 However,

 when asked if the composition of Boschelli would be “pharmaceutically acceptable” if it used

 pure bosutinib and pharmaceutical grade excipients, Dr. Trout didn’t have an opinion. Ex. B

 (Trout Tr.) at 72:6-75:24. He also didn’t form an opinion as to whether the composition could

 have been reproduced in such a way to make it pharmaceutically acceptable. Id. at 157:17-158:3.

        Dr. Trout’s failure underpins the fact he cannot say what a “pharmaceutically acceptable”

 composition would be in the context of the ‘625 patent. Dr. Trout was repeatedly asked what, if

 anything, would be pharmaceutically acceptable pursuant to the claims. He was unable to do so.

 See Ex. B (Trout Tr.) at 133:4-138:6; 141:11-23; 149:8-150:9. In fact, Dr. Trout does not even

 know if the only composition disclosed in the ‘625 patent is a pharmaceutically acceptable

 composition. Ex. B (Trout Tr.) at 165:19-166:7. Dr. Trout’s opinions are fundamentally

 unreliable because he cannot say with any degree of clarity of thought what would constitute a

 pharmaceutically acceptable composition as that term is used in the ‘625 patent.




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  Dr. Trout agrees every excipient used in the Boschelli composition are disclosed in the ‘625
 patent and are generally recognized as safe by FDA.
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        C.      Dr. Trout Repeatedly Walks Away From or Contradicts the Opinions
                Expressed in His Expert Report

        Throughout Dr. Trout’s deposition, he contradicted his own expert report by stating he

 had no opinion on things he explicitly addressed in his report.

        In Dr. Trout’s report he offers the opinion “the mice [in the Boscelli experiment] did not

 have CML, and [bosutinib] was not being administered to provide a therapeutic benefit.” Ex. A

 (Trout Rpt) ¶ 67 . Dr. Trout’s opinions are further premised on his belief the API used in the

 experiments were being produced for “screening experiments.” See, e.g., id at ¶ 69. But at his

 deposition, Dr. Trout was asked what the objective was of administering the composition to the

 mice and he answered he didn’t have an opinion:

        Q: What was the objective of the Boschelli folks in administering the composition
        containing bosutinib, Tween 80 and dextrose?”
        …
        A: I didn’t speak in my report about the specific objective, so I didn’t express an opinion
        about that.”

 Ex. B (Trout Tr.) at 145:22-146:5; see also 146:19-147:15.

        It is fundamentally contradictory to on the one hand express an opinion about the reason

 a composition was being administered to the mice and simultaneously testify he did not consider

 why the compositions were being administered to the said same mice. Put differently, Dr. Trout

 cannot simultaneously offer opinions a composition was “not being administered to provide a

 therapeutic benefit” and the API was being produced to be used in “screening experiments” and

 testify he has no opinion about the objective of administering the composition to laboratory

 animals.

        Dr. Trout’s failure to offer an opinion on why the composition was being administered

 further undercuts his related testimony that one would have to have an understanding of the




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 objectives of administering a compound to understand whether it was a “pharmaceutically

 acceptable composition.”

        Q: Do you have an opinion about what a composition administered to a laboratory animal
        would have to look like in order for it to be considered pharmaceutically acceptable?

        A: … And, again, it would depend on the context, what the study was done for, and I
        would have to analyze those details.”

 Ex. B. (Trout Tr.) at 141:11-23.

        As previously demonstrated, Dr. Trout cannot define what a “pharmaceutically

 acceptable composition” is, does not know whether the composition of Boschelli is

 “pharmaceutically acceptable” and is not qualified to ascertain whether a POSA would

 reasonably understand or infer it was pharmaceutically acceptable. Furthermore, Dr. Trout failed

 to undertake the very same analysis he testified was necessary to determine whether the

 composition was pharmaceutically acceptable. In view of this failure alone, he should not be

 permitted to testify as to the anticipation of the sole asserted claim of the ‘625 patent.

        D.      Dr. Trout “Does not Have an Opinion” on Fundamental Issues Relating to
                His Opinion

        Dr. Trout was either unable or unwilling to offer multiple opinions central to his ultimate

 conclusions. For example, Dr. Trout testified he does not have an opinion/understanding as to

 whether or not Claim 1 of the ‘625 patent requires treating CML with a pharmaceutically

 acceptable composition. Ex. B (Trout Tr.) at 48:25-49:8. Further, as noted above, in reviewing

 the ‘625 patent, Dr. Trout made clear he did not have an opinion as to whether the composition

 disclosed in the patent described a pharmaceutically acceptable composition. Ex. B (Trout Tr.)

 at 165:19-166:2.

        Further, should Dr. Trout be allowed to testify at trial, Dr. Trout should not be allowed to

 offer any testimony or opinion regarding any alleged interchangeability of the terms “treating”

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 and “inhibiting” as used in the ‘625 patent. Ex. A (Trout Rpt.) ¶37, fn. 1.          At Dr. Trout’s

 deposition he stated he did not use those terms interchangeably in formulating his opinions, but

 was “observing that I think the ‘625 patent does so.” Ex. B (Trout Tr.) at 22:17-23:11. This

 statement is consistent with his repeated testimony that he does not understand or did not analyze

 issues central to his opinions and this matter.

 V.     Conclusion

        Based on the foregoing, Sun respectfully requests this Court entering an Order excluding

 Dr. Trout’s opinions and testimony from being presented or relied upon in this matter.

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                       Exhibit A
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                      d. background on the ’625 patent; and

                      e. my opinion that claim 1 of the ’625 patent is not anticipated by Boschelli

                         2001.

 III.   PERSON OF ORDINARY SKILL IN THE ART

        25.      I understand that Pfizer has taken the position that, in the context of the ’625

 patent, a POSA is:

        someone having the knowledge of (1) an M.D. with several years of experience as
        an oncologist treating patients with CML; (2) a Ph.D. with several years of
        experience conducting research on inhibition of tyrosine kinases; and (3) a person
        with a Ph.D. in medicinal chemistry, pharmacology, or a related field with several
        years of experience in drug development and formulation.

 (Joint Claim Construction Br., D.I. 91, at 4 (Ex. D)).

        26.      I understand that Sun has further stated that in the context of the ’625 patent:

        a POSA would have a high level of skill, such as an M.D. and several years of
        experience as an oncologist treating patients with CML, or a Ph.D. and several
        years of experience conducting research on inhibition of tyrosine kinases. A
        POSA would have access to and could have collaborated with individuals with
        pertinent experience, such as a medicinal chemistry, biology, pharmacology,
        and/or drug metabolism and pharmacokinetics. A POSA could have a lower
        degree of formal education if such person had a higher degree of experience.

 (Ex. D at 5).

        27.      It is my understanding that Pfizer and Sun do not dispute the type of experience to

 which a POSA would have access. In Pfizer’s proposal, a single hypothetical individual would

 have all of the relevant experience. In Sun’s proposal, the narrower experience of one individual

 would be supplemented by the knowledge of team members regarding other disciplines. My

 opinions are the same regardless of which definition is applied.

 IV.    LEGAL STANDARDS

        28.      I am informed that Sun has challenged the validity of the one claim set forth in the

 ’625 patent on several grounds including, inter alia, anticipation.

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         A.      Claim Construction

         29.     I understand that the validity of the ’625 patent must be evaluated in light of the

 claim that appears in the ’625 patent as properly construed. I have read Judge Andrews’ June 27,

 2018 claim construction opinion, (Markman Order, D.I. 98) (Ex. E), which construed a term in

 the claim of the ’625 patent as follows:

                    Claim Term                                     Court’s Construction

 “pharmaceutical composition”                          “a pharmaceutically acceptable composition
 (’625 patent claim 1)                                 containing the specified compound and one or
                                                       more excipients”
 (Ex. E at 1).

         30.     I have applied this construction in performing the analysis in this report.

         B.      Anticipation

         31.     I have been advised by Pfizer’s lawyers that for a reference to anticipate a patent

 claim, it must disclose every element of that claim. The question is not whether a prior art

 reference suggests each element, but whether a POSA would reasonably understand or infer that

 every claim element is disclosed in that reference.

         32.     I further understand that, in order to anticipate a claimed invention, a prior art

 reference must enable one of ordinary skill in the art to make the invention without undue

 experimentation.

 V.      INFORMATION AND MATERIALS CONSIDERED

         33.     In preparing this report, I have reviewed and relied upon the materials listed in

 Exhibit F, including the materials cited and listed in this report. My opinions are based in part on

 my review of those documents and materials.

         34.     I have also relied on my education, experience, and knowledge of industry

 practices as well as my understanding of the applicable legal principles described above.


                                                   8
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 67,377, 67,378-79 (Dec. 24, 1997) (Ex. EE). The pharmaceutical composition must also be

 manufactured and maintained with appropriate sterility.       This is particularly important for

 pharmaceutical compositions that are meant to be injected. (FDA Q6A Specifications, Ex. CC §

 3.3.2.3(c).; see also Remington ch. 41, Ex. AA at 783-84).

        65.    Finally, in a pharmaceutical composition the excipients used must be compatible

 with each other and with the API. (Remington ch. 38, Ex. K at 713-14). Such compatibility is

 essential in a pharmaceutical composition. Both dextrose and Tween-80 have incompatibilities

 with certain pharmaceuticals and other compounds that must be taken into account when

 developing pharmaceutical compositions that include those ingredients. (Arthur H. Kibbe, ed,

 Dextrose, in Handbook of Pharmaceutical Excipients 175, 176 (3rd ed. 2000) (Ex. FF); Arthur

 H. Kibbe, ed, Polyoxyethylene Sorbitan Fatty Acid Esters, in Handbook of Pharmaceutical

 Excipients 416, 419 (3rd ed. 2000) (Ex. GG)).

 IX.    CLAIM 1 OF THE ’625 PATENT IS NOT ANTICIPATED BY BOSCHELLI 2001

        66.    Claim 1 of the ’625 patent is not anticipated by Boschelli 2001 because Boschelli

 2001 does not disclose a pharmaceutical composition comprising bosutinib.

        67.    As discussed above in Section VII, Boschelli 2001 discloses a newly lab-

 synthesized compound that is tested in animal experiments. In those animal studies reported in

 Boschelli 2001, human CML tumor cells were introduced into laboratory mice, and the tumors

 were assessed after administration of compound 31a.          The mice did not have CML, and

 compound 31a was not being administered to provide a therapeutic benefit. The animals were to

 be sacrificed after testing. There is no suggestion in Boschelli 2001 that the researchers took

 care to develop a “pharmaceutically acceptable composition” in conducting these initial animal

 studies. See Remington ch. 10, Ex. L at 87; Remington ch. 39, Ex. BB at 721-22.



                                                 21
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        A.      Boschelli 2001 Does Not Disclose the Synthesis of a Pharmaceutically
                Acceptable API

        68.     There is no disclosure in Boschelli 2001 that the researchers took care to

 synthesize compound 31a for use in the animal studies such that the active compound being

 evaluated would be “pharmaceutically acceptable.” See Remington ch. 10, Ex. L at 87.

        69.     As explained in more detail below, the chemical synthesis disclosed in Boschelli

 2001 was not designed to lead to, and likely would not have led to, a pharmaceutically

 acceptable API. Boschelli 2001 describes an initial laboratory procedure intended to produce a

 material that could be used in screening experiments. (Boschelli 2001, Ex. B at 3974). Boschelli

 2001 includes no indication that there was any effort to produce compound 31a under conditions

 suitable for its inclusion in a pharmaceutical composition or to confirm its suitability for use in a

 pharmaceutical composition. See Remington ch. 10, Ex. L at 87.

        70.     A POSA reading Boschelli 2001 would conclude that compound 31a was

 synthesized without much attention paid to purification or to any of the specifications required

 for active compounds that are to be included in a pharmaceutical composition; compound 31a

 most likely contained impurities such that it would not have been pharmaceutically acceptable.

        71.     As discussed above in Section VIII.A, to be pharmaceutically acceptable, an

 active compound must meet specifications including a maximum of net percentage impurities

 and maxima of each impurity. There is no indication that the main separation step disclosed in

 Boschelli 2001, a basic “column chromatography,” reduces impurities to pharmaceutically

 acceptable levels. (Boschelli 2001, Ex. B at 3974). Indeed, this separation method is not used

 for creating pharmaceutically acceptable actives, but rather is used only for a crude separation.

 When creating a pharmaceutically acceptable active, appropriate particle size and type, pressure,

 column length, and flow rate must all be taken into account during the separation step. Crude


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 column chromatography of the kind used in Boschelli 2001 does not take these factors into

 account. See A.M. Katti & P. Jagland, Development and Optimization of Industrial Scale

 Chromatography for Use in Manufacturing, 26 Analusis Mag. 38, 45-46 (1998) (Ex. HH)

 (discussing the conditions which must be optimized for using the chromatography process past

 the discovery stage). Additionally, the large range of the melting point of compound 31a reflects

 a large fraction of impurities in the compound.          See Steven A. Hardinger, A Simple

 Demonstration of the Effect of Impurities on Melting Point, 72 J. Chemical Educ. 250, 250

 (1995) (Ex. II).

        72.     Further, Boschelli 2001 does not reflect any measurement or characterization of

 the impurities in compound 31a or otherwise suggest that the specifications required for a

 pharmaceutical composition were met. See FDA Q6A Specifications, Ex. CC at §§ 3.2–3.3; see

 also Remington ch. 36, Ex. M at 669; Leonard C. Baily, Ch. 33: Chromatography, in Remington:

 The Science and Practice of Pharmacy 587, 587 (Alfonso R. Gennaro et al. eds., 20th ed. 2000)

 (Ex. JJ). The only characterization done of compound 31a, other than of its melting range, was

 aimed at confirming that compound 31a was in fact the compound the researchers had intended

 to synthesize. (Boschelli 2001, Ex. B at 3974).

        73.     Boschelli 2001’s lack of attention to the impurity levels in compound 31a is also

 apparent in the filtration step of the synthesis. Boschelli 2001 describes the use of the solvents

 methanol and dichloromethane, also known as methylene chloride, in synthesizing compound

 31a. (Boschelli 2001, Ex. B at 3974). The FDA categorizes both methanol and dichloromethane

 as Class 2 solvents and requires strict concentration limits of these solvents in pharmaceutical

 compositions. See FDA Q3C Impurities, Ex. EE at 67,381, Table 2. There is no indication in

 Boschelli 2001 that the methanol and dichloromethane left in the compound as residual solvents



                                                   23
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 were removed during the filtration step through drying. Boschelli 2001 also fails to mention any

 testing done to determine whether the residual solvent levels in compound 31a fell below

 acceptable limits.

        B.      Boschelli 2001 Does Not Disclose the Use of Pharmaceutically Acceptable
                Excipients

        74.     In addition to failing to disclose the creation of a pharmaceutically acceptable

 active compound, Boschelli 2001 does not disclose that the researchers took care to procure and

 use pharmaceutical grade excipients when preparing the composition administered in the

 reported animal studies.   Specifically, nothing in Boschelli 2001 suggests that the inactive

 components of Tween-80, dextrose, and water included with compound 31a in the formulation

 administered to the laboratory mice were pharmaceutical grade or would have been

 pharmaceutically acceptable as used. See Remington ch. 10, Ex. L at 87; Remington ch. 39, Ex.

 BB at 721-22. As discussed above in Section VIII.B, paragraph 62, the rigorous USP-NF

 standards required for components of pharmaceutical compositions need not apply to the use of

 compounds for tests involving laboratory animals. (Wolff 2003, Ex. T at 34).      Compositions

 used for tests involving laboratory rodents may be made with laboratory grade materials.

        C.      Boschelli 2001 Does Not Disclose the Use of Procedures Required for Making
                Pharmaceutically Acceptable Compositions

        75.     There is no indication in Boschelli 2001 that the researchers that conducted the

 animal testing followed production procedures that would have produced an aqueous-based

 pharmaceutically acceptable composition. See Remington ch. 41, Ex. AA at 781.

        76.     As discussed above in Section VIII.B, paragraph 60, the water used in

 pharmaceutical compositions, particularly those formulated for injection, must meet rigorous

 standards to the ensure sterility of the composition. See USP25-NF20 Water, Ex. Z at 1809-10;



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                       Exhibit B
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                                                                        Page 1
 1

 2    IN THE UNITED STATES DISTRICT COURT
      FOR THE DISTRICT OF DELAWARE
 3    Civil Action No. 16-1305-RGA
      ---------------------------------------X
 4    WYETH LLC, WYETH PHARMACEUTICALS INC.
 5    et al.,
 6                    Plaintiffs,
 7           -against-
 8    ALEMBIC PHARMACEUTICALS, LTD., et al.,
 9                    Defendants.
      ---------------------------------------X
10

11                           ** CONFIDENTIAL **
12

13     VIDEOTAPED DEPOSITION OF BERNHARDT TROUT, Ph.D.
14

15                           New York, New York
16                     Wednesday, August 7, 2019
17

18

19

20

21

22

23    Reported by:
24    JEFFREY BENZ, CRR, RMR
25    JOB NO. 165308

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                                              Page 2                                                   Page 3
 1                                                         1
 2                                                         2   A P P E A R A N C E S:
 3                                                         3
 4                                                         4     ARNOLD & PORTER
 5                  August 7, 2019                         5     Attorneys for Plaintiff Wyeth LLC
 6                  9:04 a m.                              6         250 West 55th Street
 7                                                         7         New York, New York 10019
 8                                                         8     BY: STEPHANIE PIPER, ESQ.
 9       Videotaped Deposition of BERNHARDT TROUT,         9
10   Ph.D., held at the offices of Freeborn & Peters      10     FREEBORN & PETERS
11   LLP, 230 Park Avenue, New York, New York, before     11     Attorneys for Defendant Sun Pharmaceuticals
12   Jeffrey Benz, a Certified Realtime Reporter,         12         311 South Wacker Drive
13   Registered Merit Reporter and Notary Public of the   13         Chicago, Illinois 60606
14   State of New York.                                   14     BY: STEPHEN BENSON, ESQ.
15                                                        15         KIMBERLY BEIS, ESQ.
16                                                        16
17                                                        17     SHEPPARD, MULLIN, RICHTER & HAMPTON
18                                                        18     Attorneys for Defendant Alembic Pharmaceuticals,
19                                                        19     Ltd., et al.
20                                                        20         2099 Pennsylvania Avenue, NW
21                                                        21         Washington, D.C. 20006
22                                                        22     BY: APRIL WEISBRUCH, ESQ.
23                                                        23
24                                                        24   ALSO PRESENT:
25                                                        25     PHIL RIZZUTI, Videographer

                                              Page 4                                                   Page 5
 1          Trout - Confidential                           1             Trout - Confidential
 2       THE VIDEOGRAPHER: This is the start               2      on behalf today of Alembic.
 3   of Media labeled Number 1 of the                      3          MS. PIPER: Stephanie Piper, from
 4   video-recorded deposition of Bernhardt                4      Arnold & Porter, here on behalf of the
 5   Trout in the matter of Wyeth LLC, Wyeth               5      plaintiffs.
 6   Pharmaceuticals Inc., et al., versus                  6          THE VIDEOGRAPHER: Will the court
 7   Alembic Pharmaceuticals Ltd., et al., in              7      reporter please swear in the witness.
 8   the United States District Court for the              8   BERNHARDT TROUT, Ph.D.,
 9   District of Delaware, Case Number                     9      called as a witness, having been first
10   16-1305-RGA. This deposition is being held           10      duly sworn by Jeffrey Benz, a Notary
11   at 230 Park Avenue, New York, New York, on           11      Public within and for the State of New
12   August 7, 2019, at approximately 9:04 a.m.           12      York, was examined and testified as
13       My name is Phil Rizzuti. I am the                13      follows:
14   legal video specialist from TSG Reporting            14   EXAMINATION BY MR. BENSON:
15   Inc. The court reporter is Jeff Benz, in             15      Q. Good morning, Dr. Trout.
16   association with TSG Reporting.                      16      A. Good morning.
17       Counsel, please introduce yourselves.            17      Q. As you heard during the introductions,
18       MR. BENSON: Stephen Benson, from the             18   my name is Stephen Benson, and I represent the
19   firm of Freeborn & Peters, on behalf of the          19   Sun defendants.
20   Sun defendants.                                      20          And I understand from looking at your
21       MS. BEIS: Kimberly Beis, also from               21   CV that this is not your first time being
22   Freeborn & Peters, on behalf of the Sun              22   deposed, correct?
23   defendants.                                          23      A. Correct.
24       MS. WEISBRUCH: April Weisbruch, from             24      Q. Okay. So I'm not going to go into
25   Sheppard, Mullin, Richter & Hampton, here            25   details about the structure of a deposition,



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                                             Page 6                                                 Page 7
1               Trout - Confidential                    1               Trout - Confidential
2    with the understanding that you're familiar with   2        Q. Okay.
3    that. However, I will just remind you that         3        A. -- from Dr. Lindsley.
4    giving deposition testimony is equivalent to       4        Q. Okay. And an opening report that
5    giving testimony in a court of law, the same       5    related to the invalidity of the -- let's see,
6    requirements for truthfulness and the same         6    U.S. Patent Number -- let me get the full number
7    requirement that you answer completely, to the     7    on the record.
8    extent that you're able, any question that is      8           7,919,625, correct?
9    asked. Do you understand those rules?              9        A. Yes. I think his report discussed a
10      A. Yes.                                         10   number of patents but that was the focus of my
11      Q. Okay. And if you don't understand a          11   analysis.
12   question, please feel free to let me know. If      12       Q. Okay. And for the purposes of this
13   you want me to rephrase the question, we can do    13   deposition, I'll refer to that particular patent
14   that as well. Okay?                                14   as "the '625 patent." Okay?
15      A. Okay.                                        15       A. Okay.
16      Q. And lastly, if you need to take a            16       Q. Now, did you read the entirety of that
17   break, just let me know. I'm happy to              17   opening report of Dr. Lindsley?
18   accommodate that. Okay?                            18       A. Yes.
19      A. Thank you.                                   19       Q. Okay. And my understanding, based on
20      Q. Great.                                       20   looking at your own report, is that your
21          Now, you -- at some time in your            21   opinions are specifically focused on one opinion
22   engagement in this matter you received an expert   22   provided by Dr. Lindsley relating to the
23   report by a Dr. Craig Lindsley; is that correct?   23   anticipation of the '625 patent; is that
24      A. Yes, I -- I think I received two             24   correct?
25   reports --                                         25       A. Broadly, I'm not sure if that's one

                                             Page 8                                                 Page 9
 1              Trout - Confidential                     1               Trout - Confidential
 2   opinion or if it's multiple opinions. But, yes,     2   little bit simpler. It wasn't asking you to
 3   the focus was the anticipation of the '625.         3   give an opinion. It's as to whether or not you
 4       Q. All right. Now -- were you asked to          4   were able to determine, based on your review,
 5   opine on any of the other bases of invalidity       5   whether you were qualified to opine on the
 6   presented by Dr. Lindsley in his opening report?    6   issues presented in the remaining portions of
 7       A. No.                                          7   Dr. Lindsley's opening report?
 8       Q. Okay. Do you have any understanding          8            MS. PIPER: Objection. Outside the
 9   as to why you were asked specifically to address    9        scope of what Dr. Trout was asked to
10   just the anticipation argument as it relates to    10        consider.
11   the '625 patent?                                   11        A. I didn't look at it to the extent that
12       A. No broader understanding. I just know       12   I could analyze whether I was qualified or not.
13   about the '625 and the opinions in my report.      13   I -- I think that I'm qualified to give the
14       Q. Okay. Having read Dr. Lindsley's            14   opinions that I gave in my report.
15   opening report, do you feel you were qualified     15            MR. BENSON: Okay. All right. And
16   to address any of the other opinions               16        in -- why don't we go ahead and -- we have
17   Dr. Lindsley presented as it relates to            17        previously marked a binder here as the --
18   invalidity of the '625 patent?                     18        Trout Exhibit Number 1, and I will have the
19          MS. PIPER: Objection. Outside the           19        court reporter hand that to you.
20       scope of Dr. Trout's report and opinion.       20            (Dr. Trout's expert report, including
21       A. My focus and my task, as I outlined in      21        exhibits, was marked Trout Exhibit 1 for
22   my expert report itself, was on the '625, so I     22        identification, as of this date.)
23   didn't really look into the details of the         23            THE WITNESS: Thank you.
24   others.                                            24        Q. And I will represent to you that this
25       Q. Okay. I think my question was just a        25   is a copy of your expert report that you've



                                                                                                                3
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                                           Page 10                                                 Page 11
 1              Trout - Confidential                    1               Trout - Confidential
 2   provided in this case, along with the exhibits     2        A. No, not based on what was in my
 3   cited therein. But to -- to convince yourself      3    report. I mean, those are the opinions in my
 4   that I am correct, why don't you go ahead and      4    report, and so I stick to those opinions that I
 5   look at the report here, and let me know if you    5    gave.
 6   agree that that appears to be the report you       6        Q. Okay. Is there anything at all you
 7   provided in this case.                             7    would want to supplement today with respect to
 8       A. So I flipped through the report in          8    your own opinions that you've not shared with
 9   Tab 1, and it looks like -- I mean, just on a      9    defendants?
10   high level it looks like my report.                10       A. Not at this point in time.
11       Q. Okay. Now, you -- after providing           11       Q. Okay. Fair enough. All right.
12   your expert report, you are aware that             12           So if I could direct you to your --
13   Dr. Lindsley prepared a reply report in response   13   your expert report, paragraph 25, please. And
14   to that, correct?                                  14   this is the definition of a person of ordinary
15       A. Yes.                                        15   skill in the art.
16       Q. And did you have an opportunity to          16           Now, based on your report, you have an
17   read that report?                                  17   understanding, your own definition of a person
18       A. Yes.                                        18   of ordinary skill in the art is a little
19       Q. Okay. And after reading that report,        19   different from that presented by Dr. Lindsley,
20   have any of the opinions expressed in your         20   correct?
21   opening report or your response report changed?    21       A. Yes, there's a little bit of a
22       A. No.                                         22   difference, and I discuss that in paragraph 27.
23       Q. Okay. Did you formulate any                 23       Q. Right. But basically -- my
24   additional opinions based on your reading of       24   understanding from your report is, your opinions
25   Dr. Lindsley's reply report?                       25   wouldn't change were you to adopt Dr. Lindsley's

                                           Page 12                                                 Page 13
 1               Trout - Confidential                    1              Trout - Confidential
 2   definition of a person of ordinary skill in the     2   of CML prior to your engagement in this case?
 3   art, correct?                                       3       A. I didn't have a -- a specific or
 4       A. Yes.                                         4   detailed understanding. I knew broadly about
 5       Q. And now, with respect to your own            5   Gleevec is one of the pharmaceuticals, but I
 6   opinion about a person of ordinary skill in the     6   didn't know much about CML per se.
 7   art, first you believe that such a person would     7       Q. Okay. And what, if anything, did you
 8   have knowledge that would be possessed of an MD     8   know about Gleevec? Was it just generally that
 9   with several years of experience as an              9   it was a medicine for treating CML?
10                                                      10       A. Yes, that it's an important medicine
     oncologist treating patients with CML, correct?
11                                                      11   for treating, you know, leukemia or cancer
         A. That's part of the -- the knowledge of
12                                                      12   diseases.
     that P-O-S-A.
13                                                      13       Q. Now, did you review that portion of
         Q. And for clarity, CML is an
14                                                      14   Dr. Lindsley's opening report wherein he talked
     abbreviation for chronic myelogenous leukemia;
15                                                      15   about CML?
     is that correct?
16                                                      16           MS. PIPER: Objection. Outside the
         A. That's my understanding.
17                                                      17       scope of what Dr. Trout was asked to opine
         Q. Okay. And for the court reporter,
18                                                      18       on.
     myelogenous is spelled M-Y-E-L-O-G-E-N-O-U-S.
19                                                      19       A. Yes, I reviewed his entire report.
     And I make no representations as to whether or
20
                                                        20       Q. And I think the question was simply,
     not I'm pronouncing that correctly.
                                                        21   you did review that portion. Is there anything
21           Do you have any experience with the
                                                        22   about that, in reading about Dr. Lindsley's
22   treatment for CML?
                                                        23   description of CML, that you disagreed with?
23       A. No, not outside of just reading the         24           MS. PIPER: Objection. Outside the
24   documents in this case.                            25       scope of what Dr. Trout was opine -- was
25       Q. Okay. So what was your understanding



                                                                                                                4
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 1              Trout - Confidential                    1               Trout - Confidential
 2       said to opine on.                              2    related to my opinions.
 3       A. I don't have any opinions about that        3        Q. Okay. Okay. Returning very briefly
 4   part of the report.                                4    to your definition of a person of ordinary skill
 5       Q. Okay. Okay. How did -- in this case,        5    in the art, it also includes the opinion that a
 6   how did you gain your understanding of CML?        6    person of skill in the art would have the
 7       A. I gained my understanding from the          7    knowledge of a person having a Ph.D. with
 8   '625 patent, I mean, to the extent that I have     8    several years of experience conducting research
 9   an understanding, and from just the background     9    on inhibition of tyrosine kinases, correct?
10   that I read in Dr. Lindsley's report and maybe     10       A. Yes, that's one of the parts to the --
11   in some of the other documents as exhibits. But    11   to the definition, yes.
12   I think that the main focus was the '625, a few    12       Q. Okay. What, if any, experience do you
13   of the papers, a few of -- in the exhibit -- my    13   have conducting research on inhibition of
14   exhibits, and then Dr. Lindsley's report --        14   tyrosine kinases?
15   reports.                                           15       A. None, except -- not doing research, I
16       Q. With respect to Dr. Lindsley's reply        16   mean, just broad background reading from my
17   report, did you focus on any section other than    17   general knowledge, but not specific experience
18   that portion of his report that was replying to    18   doing research.
19   your own opinions?                                 19       Q. Can you kind of describe to me what
20           MS. PIPER: Objection. Outside the          20   your background knowledge is of just, you know,
21       scope of what Dr. Trout was asked to opine     21   inhibition of tyrosine kinases?
22       on.                                            22       A. Yes. Well, I studied biochemistry as
23       A. I read the whole report, but, no,           23   an undergraduate. I continued learning about
24   my -- I think your question was about focus. My    24   cellular biology and protein biochemistry
25   focus was on the paragraphs and other parts        25   post-undergraduate, certainly as an independent

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1              Trout - Confidential                     1              Trout - Confidential
2    researcher when I joined MIT on the faculty in     2        Q. All right. And lastly, your opinion
3    1998, so I continued to gain knowledge in that     3    regarding the knowledge of a person having
4    area. And I understand and continue to learn       4    ordinary skill in the art includes a person with
5    about drug development and inhibition broadly so   5    a Ph.D. in medicinal chemistry, pharmacology, or
6    I have this kind of general understanding.         6    a related field with several years of experience
7        Q. So is it fair to say your                   7    in drug development and formulation, correct?
8    understanding of the inhibition of tyrosine        8        A. Yes. Correct.
9    kinases is not specifically as it relates to the   9        Q. Okay. Now, what, if any, experience
10   treatment of CML?                                  10   do you have -- can you -- well, strike that.
11       A. Yes, that's correct.                        11          Can you describe for me your
12       Q. What, if any, understanding do you          12   experience in drug development and formulation
13   have about the role of the inhibition of           13   generally?
14   tyrosine kinases in the treatment for CML?         14       A. Yes. As an undergraduate at MIT in
15          MS. PIPER: Objection. Outside the           15   the '80s, I worked on research related to
16       scope of Dr. Trout's opinion.                  16   processing of pharmaceuticals and also enzymatic
17       A. I just have broad understanding based       17   catalysis. I went on to do a Ph.D. in chemical
18   on the background that I just described and the    18   reactivity. And then when I joined the MIT
19   documents that I reviewed.                         19   faculty in 1998, I began an independent research
20       Q. So prior to your engagement in this         20   program focusing on formulation -- well, say,
21   case, did you have any understanding of how        21   drug development and formulation broadly. And
22   tyrosine kinases and/or their inhibition were      22   so I have continued that research up till today.
23   implicated in CML therapy?                         23   I can go into all levels of detail as you like.
24       A. Again, just very broadly. Nothing           24       Q. Your researches into drug development
25   specific about that, no.                           25   and formulation, are they aimed at specific



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 1              Trout - Confidential                    1               Trout - Confidential
 2   chemical compounds? For example, you know,         2    ingredient, so the active ingredient I guess in
 3   active pharmaceutical ingredients, for example?    3    a formulation or outside of a formulation.
 4       A. Yes. To qualify that, the broad focus       4        Q. So a medicinal drug, for example?
 5   of my research is to develop new technologies      5           MS. PIPER: Objection to form.
 6   related to drug development, formulation, and      6        A. I guess I would stick with the
 7   manufacturing. In doing that we work on            7    terminology that I used.
 8   specific pharmaceuticals, a range of               8        Q. Okay. Now, you'll agree with me a
 9   pharmaceuticals.                                   9    person of ordinary skill in the art, as you've
10       Q. Just for clarity, how do you define         10   defined it, would understand a pharmaceutical
11   the term "pharmaceutical"?                         11   composition to include an API, or active
12       A. And you're talking about general, not       12   pharmaceutical ingredient, right?
13   in the specific context, like --                   13       A. Yes.
14       Q. Just generally --                           14       Q. And a person of ordinary skill in the
15       A. -- talking about the patent but just        15   art would also understand a pharmaceutical
16   generally?                                         16   composition could include one or more excipients
17       Q. Yes. I think you said, you know, you        17   as well, correct?
18   do work on specific pharmaceuticals, a range of    18       A. Yes. And, again, I want to qualify, I
19   pharmaceuticals. So, you know, when you're         19   know that's a term that has specific
20   using it just generally in that sense, what is     20   implications in this case. And I understand
21   your understanding of -- what is your definition   21   we're just speaking broadly. So outside of the
22   of a "pharmaceutical" as you use it there?         22   context of, let's say, a specific term in a
23       A. In that particular sense I was              23   claim, yes.
24   addressing your question which I interpreted as    24       Q. Okay. So generally speaking, just to
25   a -- a specific API, or active pharmaceutical      25   rehash, and, again, just speaking generally, a

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 1              Trout - Confidential                     1              Trout - Confidential
 2   person of ordinary skill in the art, in your        2   also be used. Just I know it tends to be used
 3   opinion, hearing the term "pharmaceutical           3   more in the legal context, and certainly in this
 4   composition" would think of an API and one or       4   case, so I wanted to make that clear.
 5   more excipients, right?                             5       Q. Okay. I appreciate that. Thank you.
 6       A. Yes, broadly speaking. Again, I --           6   And I think I'm clear on that now.
 7   that seems to be a term that's a little bit more    7           Okay. So do you consider yourself to
 8   used in a legal context than, let's say, a          8   be a person having ordinary skill in the art
 9   technical context. But if I put it into a           9   based on your own definition?
10   technical context, then, yes.                      10       A. And just to clarify, you're asking
11       Q. So is it -- I'm -- just so I                11   about the entire definition?
12   understand, is it -- are you saying that that      12       Q. Correct.
13   term like a "pharmaceutical composition" isn't     13       A. No. I think my skill is really
14   typically used in the art, like, the               14   focused on the third part of that definition.
15   pharmaceutical arts or the drug development        15       Q. Okay. Let me direct you to paragraph
16   field? Or you're just saying that it's used        16   42 of your report, please. Now, you've
17   both in a legal context here but also in a --      17   reproduced here the single claim of the '625
18   I'm just trying to understand.                     18   patent, correct?
19          MS. PIPER: Objection to form.               19       A. Yes.
20       A. So it can be used in both contexts.         20       Q. And that's as it appears in the patent
21       Q. Okay.                                       21   itself, right?
22       A. In sort of my daily -- daily basis          22       A. Unless I've made any typos, yes.
23   we -- or daily work we typically would talk        23       Q. And so we agree that the compound that
24   about a drug product or a drug formulation.        24   is referenced here in Claim -- Claim 1 of the
25   Composition or pharmaceutical composition can      25   '625 patent is bosutinib, correct?



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                                            Page 22                                                Page 23
1              Trout - Confidential                      1              Trout - Confidential
2           MS. PIPER: Objection to form.                2          MS. PIPER: Objection. Outside the
3        A. Yes, that's my understanding.                3       scope of Dr. Trout's opinion.
4        Q. Okay. And you don't disagree with            4       A. That's what I included here in the
5    Dr. Lindsley in that regard, right?                 5   background as I understand it. Yes.
6           MS. PIPER: Objection to form.                6       Q. Well, the question here is, did you
7        A. No. As far as I understand it, that's        7   use that -- those terms interchangeably, or are
8    correct.                                            8   you simply observing that you believe that the
9        Q. Okay. Now, I see here that -- well,          9   '625 patent does so?
10   so the claim is, you know, giving -- you know,     10       A. I'm observing that I think the '625
11                                                      11   patent does so.
     replacing the actual chemical name with
12                                                      12       Q. Okay. So what is your understanding
     bosutinib, the claim states, "A pharmaceutical
13                                                      13   of what a CML inhibiting amount of bosutinib
     composition comprising a CML inhibiting amount
14                                                      14   would mean?
     of the compound bosutinib."
15                                                      15          MS. PIPER: Objection. Outside the
            Correct?
16                                                      16       scope of Dr. Trout's opinion.
         A. Yes.
17                                                      17       A. I don't have an opinion on that.
         Q. Okay. Now, looking at Footnote 1,
18                                                      18       Q. Okay. So for clarity, you don't have
     which is on the bottom of page 9, you observe
19
                                                        19   an opinion as to -- well, let me ask you a
     here, in your opinion, that the '625 patent uses
20
                                                        20   different question.
     treating and inhibiting CML interchangeably.
                                                        21          In formulating your opinions, what was
21   You see that?
                                                        22   your understanding of what a CML inhibiting
22       A. Yes.                                        23   amount of bosutinib meant?
23       Q. Okay. And in formulating your               24          MS. PIPER: Objection. Outside the
24   opinions, did you also view treating CML and       25       scope of what Dr. Trout was asked to opine
25   inhibiting CML as interchangeable terms?

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 1             Trout - Confidential                     1               Trout - Confidential
 2       on.                                            2    That's the other part of the -- that's another
 3       A. I didn't formulate opinions                 3    element of the claim, right --
 4   specifically on that.                              4         Q. That's correct.
 5       Q. Okay. Okay. Now, you understand that        5         A. -- yes.
 6   the term "pharmaceutical composition" in -- as     6         Q. And so your understanding is when --
 7   it appears in Claim 1 has been construed by the    7    when the Court is -- in the Court's construction
 8   Court, correct?                                    8    when it says, "A pharmaceutically acceptable
 9       A. Yes.                                        9    composition containing the specified compound,"
10       Q. And you provided that construction in       10   it's your understanding based on the claim that
11   your opinion at paragraph 29, correct?             11   that specified compound in this context is
12       A. Yes.                                        12   bosutinib, correct?
13       Q. Okay. And it is your understanding          13        A. Yes, in the context of Claim 1 of the
14   the Court's construction of "pharmaceutical        14   '625, correct.
15   composition" is, "A pharmaceutically acceptable    15        Q. And one or more excipients, right? Is
16   composition containing the specified compound      16   the last portion of this construction.
17   and one or more excipients."                       17           So what is your understanding of what
18           Correct?                                   18   an excipient would be in the context of this
19       A. Yes.                                        19   construction?
20       Q. Okay. And in this construction, your        20        A. So I talk about that, for example, on
21   understanding of a -- "the specified compound"     21   page 15 of my report, paragraph 53. I say,
22   is bosutinib, correct?                             22   "There are ingredients other than the active
23       A. Yes.                                        23   ingredient," and then there's some, you know,
24       Q. Okay. And --                                24   more qualification of that in the subsequent
25       A. Meaning -- sorry, just to qualify.          25   paragraphs in terms of specific types of



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 1             Trout - Confidential                     1               Trout - Confidential
 2   specifications that they must meet.                2    inquiry.
 3      Q. Now, you don't disagree generally that       3           Closed it for me.
 4   TWEEN 80 is -- can be an excipient in a            4           Okay. So this is the '625 patent. Do
 5   pharmaceutical composition as -- as you've         5    you recognize that?
 6   defined excipients here, right?                    6        A. I mean, looking at the first page it
 7          MS. PIPER: Objection to form.               7    looks like the '625 patent that I'm familiar
 8      A. It can be an excipient. It has to            8    with, yes.
 9   meet the kind of specifications that I discuss     9        Q. Okay. So let's go to Column 4,
10   here, a particular version of TWEEN 80, but it     10   beginning at line 5, and let me know when you're
11   can be.                                            11   there.
12      Q. Okay. And, in fact, it's described in        12       A. I'm there.
13   the '625 patent as a possible excipient for        13       Q. Okay. Now, this begins with, "The
14   bosutinib compositions, correct?                   14   compounds of the invention may be formulated
15      A. And just to be clear, could you point        15   with conventional excipients such as a filler, a
16   me to where you're referring?                      16   disintegrating agent, a binder, a lubricant, a
17      Q. Yes, I can. Let me direct you to             17   flavoring agent, color additive, or a carrier."
18   Exhibit A.                                         18          Right?
19          Sorry, my computer is asking me if I'm      19
20
                                                                 A. Yes.
     enjoying the iAnnotate app that I'm using right    20       Q. And then here in this section various
21   now, so I had to take care of that and let it      21   types of excipients are described. Would you
22   know I was indeed enjoying it, so. It wouldn't     22   agree with me on that?
23   leave me alone about it.                           23       A. Yes, in the subsequent part of that
24          So, I'm sorry, we were going to             24   paragraph.
25   Exhibit A, which -- in responding to their         25       Q. And if we go to that paragraph that

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1               Trout - Confidential                     1              Trout - Confidential
2    begins around line 27 in Column 4, do you see       2   further to line 17, wherein it states, "When
3    that?                                               3   provided orally or topically."
4       A. Yes.                                          4          Do you see that paragraph?
5       Q. And here within this -- in this it            5       A. Yes. Yes.
6    states that, "Detergents such as TWEEN 20 and       6       Q. Okay. You know, it says: When
7    TWEEN 80 can be used in certain formulations of     7   provided orally or topically some -- such
8    the invention."                                     8   compounds would be provided to a subject by
9           Correct?                                     9   deliver -- by delivery in different carriers.
10      A. Yes. I think you're referring to             10   And then it says, "Typically such carriers
11   lines 34 to 35 in that Column 4.                   11   contain excipients such as starch, milk, sugar,"
12      Q. Yes. Correct. Okay. So you will              12   and then it goes on and identifies some others,
13   agree with me that the patent itself identifies    13   correct?
14   TWEEN 80 as a pharmaceutical excipient that        14       A. Yes.
15   could be used in bosutinib compositions,           15       Q. And you'll agree with me that dextrose
16   correct?                                           16   is a sugar, correct?
17      A. Yes. And I emphasize that this is            17       A. Yes.
18   within the context of the '625 patent --           18       Q. And dextrose is a well-known excipient
19      Q. Okay.                                        19   for use in pharmaceutical compositions, wouldn't
20      A. -- which we're talking about                 20   you agree?
21   pharmaceutical compositions.                       21          MS. PIPER: Objection to form.
22      Q. Okay. Perfect.                               22       A. Well, I would say that dextrose is in,
23          Now, some other -- some other               23   for example, the Handbook of Pharmaceutical
24   excipients that are mentioned here generally,      24   Excipients. So I assume you're talking about
25   so -- for example, if we go back up a little bit   25   the timeframe of the '625 patent.



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 1              Trout - Confidential                    1              Trout - Confidential
 2       Q. Correct.                                    2    compositions approved by FDA?
 3       A. So it was known as an excipient, for        3        A. I haven't checked all the excipients.
 4   example, in the Handbook of Pharmaceutical         4        Q. Okay.
 5   Excipients in that timeframe.                      5        A. I presume they have been used, but I
 6       Q. Okay. And you reference the Handbook        6    haven't checked them one by one.
 7   of Pharmaceutical Excipients, correct?             7        Q. And do you have any understanding as
 8       A. Yes.                                        8    to whether or not dextrose itself has been used
 9       Q. Okay. And the Handbook of                   9    in formulations of drugs that have been approved
10   Pharmaceutical Excipients is -- you'll agree       10   by FDA?
11   with me is a handbook that identifies various      11       A. By the date of the '625 patent I
12   pharmaceutical excipients that can be used in      12   presume you're talking about.
13   pharmaceutical compositions, correct?              13       Q. Yes.
14       A. Well, I would say it's a handbook, so       14       A. I can't think of an example sitting
15   it has entries on a set of pharmaceutical          15   here. I have no reason to think that it wasn't
16   excipients, including selective but important      16   used in other formulations, but I can't think of
17   properties that the formulation scientist or       17   an example.
18   someone interested would need to know for its      18       Q. Are you aware of a database that FDA
19   use as an excipient, including reference to        19
20
                                                             maintains that identifies excipients that have
     various specifications beyond what's in that       20   been used and approved in drug products
21   handbook.                                          21   previously?
22       Q. Okay. Do you have any understanding         22           MS. PIPER: Objection to form.
23   as to whether or not excipients are identified     23       A. Yes, I know there's a list.
24   in the Handbook of Pharmaceutical Excipients       24       Q. And do you know what the name of that
25   that have never been used in pharmaceutical        25   list is?

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 1             Trout - Confidential                      1               Trout - Confidential
 2       A. Yes. It's called the GRAS list, I            2   but I will confirm for you, just to simplify
 3   think is what you're talking about. At least        3   things, that if I'm asking you a question about
 4   that's what I'm thinking of.                        4   this -- something in -- being known in the art,
 5       Q. GRAS list?                                   5   I am referring to known as of the priority date
 6       A. Yes. It's a -- abbreviation for              6   of the invention. Okay?
 7   Generally Recognized As Safe.                       7        A. Okay.
 8       Q. Do you have any understanding as to          8        Q. So if I'm going to deviate from that,
 9   whether or not dextrose is identified as a -- an    9   I'll let you know. Okay.
10   excipient in the GRAS list?                        10        A. Okay.
11       A. I didn't specifically look it up in         11        Q. But, again, I do appreciate your --
12                                                      12   your being clear about that when I ask a
     the GRAS list.
13                                                      13   question. It's helpful.
         Q. Would you expect it would be
14                                                      14            Now, other carriers that are
     identified there, based on your experience and
15                                                      15   identified in Column 4 of the '625 patent, for
     knowledge?
16                                                      16   example, at line 14 are carriers such as water,
         A. I would think it would be identified
17                                                      17   correct?
     there, but one would have to check to confirm.
18                                                      18        A. Yes, water is identified there.
         Q. Okay. How about TWEEN 80? Would you
19                                                      19        Q. Okay. And there's really no dispute
     expect TWEEN 80 would be identified in the GRAS
20                                                      20   that water is a common carrier for
     list as well, based on your experience and
21
                                                        21   pharmaceutical compositions, right?
     knowledge?
22
                                                        22            MS. PIPER: Objection to form.
         A. Yes, again, I would expect it. I
                                                        23        A. Yes. I mean, certain water that has
23   didn't specifically check it as of this date, as
                                                        24   to meet specifications for it to be used in a
24   of the date of the '625 patent.                    25   pharmaceutical composition. But it's possible,
25       Q. And I appreciate your clarifications



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                                           Page 34                                                 Page 35
 1             Trout - Confidential                      1              Trout - Confidential
 2   yes.                                                2       Q. Okay. Now, what is your
 3       Q. All right. Let's talk a little bit           3   understanding, if you have any, of what form of
 4   about various modes of administration the '625      4   compositions are typically administered ip, or
 5   patent identifies for the pharmaceutical            5   intraperitoneal?
 6   compositions of the invention. And I will           6       A. What do you mean by "form"?
 7   direct you now, again staying in Exhibit A,         7       Q. Sure. So, for example, powders,
 8   Column 3 and line 52.                               8   tablets, solutions, suspensions, you know, what
 9            Now, do you see here where it states       9   form of composition are typically administered
10   that the compounds may be provided orally, by      10   intraperitoneal?
11   intralesional, intraperitoneal, and there are      11       A. And speaking just generally, I would
12   various modes of administration identified,        12   think typically it would be injected, and so it
13   correct?                                           13   would have to be some kind of liquid or
14       A. Yes.                                        14   suspension.
15       Q. Okay. And, again, one of those              15       Q. Okay. You said "liquid" or
16   identified here at -- looks like line 53 is        16   "suspension." Are those, in your mind,
17   intraperitoneal, right?                            17   different things?
18       A. Yes.                                        18       A. Yes. A liquid in that context, it is
19       Q. And what is intraperitoneal?                19   more broad. Suspension is specifically a liquid
20       A. It means delivery into the body             20   with solid material in it.
21   cavity, so not into the blood system,              21       Q. Okay. So is it fair to say then,
22   circulatory system directly, for example.          22   based on that testimony, that liquid, in your
23       Q. Okay. Is that often abbreviated as          23   mind, is more something that -- where all of the
24   ip, little i, little p?                            24   various excipients are in solution versus a
25       A. I've seen it abbreviated as such.           25   suspension where some of those excipients are

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1               Trout - Confidential                     1              Trout - Confidential
2    suspended in the liquid matrix?                     2   education had an opportunity to work with
3       A. Yes, that's what I was thinking of in         3   laboratory animals?
4    general context. It might differ depending on       4       A. So personally I have not done
5    the specific context in which it's used.            5   experiments on laboratory animals. I have
6       Q. Are there any other forms of                  6   helped to design studies that were done on
7    compositions or -- or that you're aware of that     7   laboratory animals and interpret the results.
8    are delivered intraperitoneal?                      8   But that was -- since '98 when I started my
9       A. There's none that I'm aware of. Those         9   independent career, so I generally have students
10   are the broad categories. This is a big field.     10   and technicians and other people do that kind of
11   Lots of people do research. Someone may have --    11   research.
12   pretty confident that people -- someone must       12       Q. Okay. Have you ever had experience
13   have tried other different types of forms, but     13   with other researchers who have been doing
14   the ones I gave you I think would be generally     14   cancer studies in mice?
15   the ones used.                                     15       A. I may have. Nothing specific comes to
16      Q. Okay. Great.                                 16   mind. Wasn't -- wasn't a big project that I was
17          Now, in your own research, do -- do         17   working on.
18   you have an opportunity to use laboratory          18       Q. Okay. So I do appreciate that working
19   animals in your research?                          19   with laboratory animals is not something that
20      A. I do not use laboratory animals in my        20   you yourself have done in your career, but do
21   laboratory. I certainly work with other people     21   you have an understanding at all as to whether
22   who use them and review literature and the         22   or not -- or as to how common it is to
23   results of those as I need them, but I do not in   23   administer the compositions to mice
24   my lab do animal research.                         24   intraperitoneally?
25      Q. Have you ever in your career or              25       A. I don't know how common it is, no.



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                                          Page 38                                                  Page 39
1              Trout - Confidential                     1              Trout - Confidential
2        Q. Okay. All right. Now, are you               2       Q. Okay. Thank you.
3    familiar with the Animal Welfare Regulations       3           When I refer to "the claim," I'm
4    promulgated by the USDA?                           4   thinking about the claim with the construction
5        A. What do you mean by "familiar"? Just        5   the Court has provided. Okay? So in other
6    do I know about -- that they exist?                6   words, in -- you would substitute pharmaceutical
7        Q. Yes.                                        7   composition with the construction the Court has
8        A. Yes.                                        8   provided. Okay?
9        Q. Have you ever had an opportunity to         9       A. Okay.
10   review those regulations?                         10       Q. For clarity. All right.
11       A. No.                                        11           Now, based on that claim, what, if
12       Q. Okay. How about the Policy on Humane       12   any, understanding do you have as to whether the
13   Care and Use of Laboratory Animals? Are you       13   pharmaceutical compositions described therein
14   familiar with that policy?                        14   are required to be acceptable for human use?
15       A. Using your definition of "familiar,"       15       A. Described therein you mean
16   yes.                                              16   specifically in the claim?
17       Q. So you're aware of it?                     17       Q. In the claim, right.
18       A. I'm aware of it, correct.                  18       A. Not generally in the patent but in the
19       Q. Have you ever had an opportunity to        19   claim?
20   review that particular document?                  20       Q. Right.
21       A. No.                                        21       A. My understanding that it's not -- is
22       Q. Okay. So let's return for a moment to      22   that it's not limited to human use.
23   your report, and I want to return to the claim    23       Q. Okay. So it does contemplate
24   for one moment, and that's at 42.                 24   pharmaceutically acceptable compositions that
25       A. I'm there.                                 25   could be administered to laboratory animals, for

                                          Page 40                                                  Page 41
 1              Trout - Confidential                   1              Trout - Confidential
 2   example, correct?                                 2    mice. I guess if you have a pet mouse, for
 3          MS. PIPER: Objection to form.              3    example.
 4       A. Well, I wouldn't say it that way. I        4        Q. Okay. So let me -- tell me a little
 5   think it's -- can -- it's more inclusive than     5    bit about what your understanding -- what you
 6   humans, so it could be used for veterinary        6    mean when you say "pharmaceutical compositions
 7   purposes.                                         7    can be used for veterinary purposes."
 8       Q. Okay. All right. So your                   8        A. What I mean is that as a
 9   understanding is, it could be used for humans     9    pharmaceutical composition, it's used to treat
10   and veterinary purposes. And what's the basis     10   or to attempt to treat a kind of disease, and so
11   of that understanding?                            11   that can be done for humans or for nonhuman
12       A. The basis is the claim. And I              12   animals, the latter being veterinary purposes.
13   understand that there was some discussion with    13       Q. Based on your experience, is it --
14   the Court about whether it's limited to humans,   14   strike that.
15   and I understand that it's not.                   15          Now, you'll agree with me that in the
16       Q. Okay. So based on looking at the           16   context of laboratory research using animals,
17   claim and that discussion with the Court, it is   17   animals are often being treated for diseases,
18   your understanding at least that the claims do    18   correct?
19   contemplate pharmaceutical compositions for       19          MS. PIPER: Objection to form.
20   veterinary purposes, right?                       20       A. Well, it depends on the experiment,
21       A. Yes.                                       21   the laboratory experiment, and the purpose of
22       Q. Okay. And that would include animals       22   the experiment.
23   such as mice, correct?                            23       Q. So there are -- there are specific
24          MS. PIPER: Objection to form.              24   contexts, you will agree, wherein laboratory
25       A. It could if you're trying to treat         25   animals have disease or some sort of condition



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1               Trout - Confidential                    1              Trout - Confidential
2    which is being treated in the lab using            2    almost always involves the use of laboratory
3    pharmaceutical compositions, right?                3    animals, right?
4        A. As a hypothetical, that's certainly a       4           MS. PIPER: Objection to form.
5    possibility.                                       5        A. There's quite extensive use of
6        Q. Well, that's an important part of drug      6    laboratory animals in different stages of, let's
7    research, isn't it --                              7    say, drug creation, if that's what you mean.
8            MS. PIPER: Objection --                    8        Q. Yes. Okay. And oftentimes that use
9        Q. -- using laboratory animals to see how      9    includes having animals that are used as models
10   a target API is able to treat laboratory           10   of a specific disease, correct? So -- let me
11   animals, correct?                                  11   strike that.
12       A. That's one part of laboratory research      12          Are you familiar with the use of
13   involving animals.                                 13   xenografts in mice as a model for studying
14       Q. But it's almost unheard of, isn't it,       14   potential candidates for treating cancer?
15   to have -- in the drug application process to      15       A. Yes.
16   actually have a research plan that doesn't         16       Q. And what is a xenograft?
17   involve treating laboratory animals with the API   17       A. A xenograft is when you put in foreign
18   at some level, correct?                            18   tissue or foreign cells into an animal such as a
19           MS. PIPER: Objection to form.              19   mouse, laboratory mouse.
20       A. I'm not quite sure I understand your        20       Q. So, for example, tumor cells that
21   question. You're talking about filings to          21   might have been harvested from a human, correct?
22   regulatory authorities? Or --                      22       A. That's an example, correct.
23       Q. So just the -- you know, in the             23       Q. Okay. And then -- and so often in
24   context of pharmaceutical drug development,        24   xenograft studies, the tumor cells are injected
25   isn't laboratory research using animals -- it      25   into the mouse and then the tumor is allowed to

                                           Page 44                                                  Page 45
 1             Trout - Confidential                      1              Trout - Confidential
 2   grow, correct?                                      2   prior art resulted in tumors that left untreated
 3       A. That's an example, correct.                  3   were fatal to the mice?
 4       Q. Right. And in many contexts if the           4       A. And just to be specific, you're
 5   tumor is left untreated, it will result in the      5   talking about the -- what I call the Boschelli
 6   death of the animal; is that correct?               6   2001 reference?
 7       A. Well, I wouldn't quite say it that           7       Q. That is an example of the prior art,
 8   way. In the type of experiments that you're         8   yes, that's correct.
 9   talking about the objective is not to treat the     9       A. Yeah, so in that reference so that is
10   animal but to perform experiments to -- whatever   10   a study performed on laboratory mice in which,
11   the -- broadly speaking, the experiment is meant   11   as you say correctly, there were xenografts
12   to accomplish. It's not to treat the animal.       12   performed on mice that were meant to be
13       Q. That wasn't my question. My question        13   sacrificed.
14   was, when the xenograft tissue is introduced       14       Q. Is it important that they were meant
15   into the animal and the tumor is allowed to        15   to be sacrificed?
16   grow, if the tumor isn't addressed, it will --     16       A. Yes.
17   the tumor will grow and result in death of the     17       Q. Why is that important?
18   animal, correct?                                   18       A. Because -- and, again, if there's a
19       A. Well, you are just talking broadly. I       19   specific place in that reference, we can talk
20   mean, I guess it depends on the type of tumor      20   about the specific place. But in general terms,
21   and the type of research that's being done and     21   the objective of Boschelli and coworkers was not
22   the hypothesis that's being tested.                22   to treat laboratory mice per se, but to test a
23       Q. Okay. Well, based on your review of         23   variety of hypotheses and -- and to determine
24   the prior art in this case, isn't it true that     24   outcomes. And what's important about sacrifice
25   the xenograft studies that were performed in the   25   is that either way, if the tumors went away or



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1               Trout - Confidential                     1              Trout - Confidential
2    if they didn't go away, the mice were not to        2   which we can talk about if you're interested.
3    continue living.                                    3   But I discuss this in many paragraphs in my
4        Q. So, in your opinion, is the fact that        4   report.
5    they weren't intended to continue leaving           5       Q. Okay. So when you say "there are
6    relevant to whether or not the experiment was a     6   different requirements depending on what you're
7    treatment of the animal?                            7   intending to do with the animals," can you
8        A. Yes. Living -- just to be clear, I           8   elaborate on that for me a little bit? And,
9    think living -- I don't know how it came out.       9   yeah, feel free --
10   But -- so, yes, because, again, the objective      10       A. Yes.
11   wasn't to treat animals, to cure them from a       11       Q. -- to go to your report and direct me
12   disease, or to manage a disease. The objective     12   to that specific paragraph.
13   was to do experiments, and they were going to      13       A. So, for example, on page 21, and
14   die either way regardless of the outcome.          14   subsequent places in my report, starting
15       Q. In your opinion, the fact that they         15   paragraph 67, that's when I talk about the fact
16   were going to die either way, is that relevant     16   that there's the xenograft done, the mice did
17   to the types of pharmaceutical excipients one      17   not have CML, Compound 31a, which is also
18   would select for a composition?                    18   bosutinib, was not being administered to provide
19       A. Yes. Could be, yes.                         19   a therapeutic benefit, and the animals were to
20       Q. Why?                                        20   be sacrificed after testing.
21       A. Well, I've opined in my report, we can      21          And I talk -- I mean, essentially, the
22   go to the specific places, but there are           22   bulk of the substance of my report is why what
23   different requirements depending on what you're    23   was used or not pharmaceutically acceptable
24   intending to do with the animals. I have           24   compositions or a pharmaceutically acceptable
25   references, for example, of -- Wolff reference,    25   composition.

                                           Page 48                                                 Page 49
 1              Trout - Confidential                    1               Trout - Confidential
 2       Q. And that's the heart of your opinion,       2    understanding as to whether or not Claim 1 of
 3   right? That the composition of Boschelli wasn't    3    the '625 patent requires treating CML with a
 4   a pharmaceutically acceptable composition,         4    pharmaceutically acceptable composition?
 5   correct?                                           5           MS. PIPER: Objection. Outside the
 6       A. That's a major part of, I guess, the        6       scope of what Dr. Trout was asked to opine
 7   conclusion, and -- and I discuss in multiple       7       on.
 8   pages and paragraphs why that's the case.          8       A. I don't have an opinion on that.
 9       Q. Now, I understand that you've been          9       Q. Okay. All right. You did direct us
10   engaged as an expert witness in patent             10   to paragraph 67, so why don't we take a look at
11   litigation cases previously, correct?              11   that, paragraph 67 of your report. And this is
12       A. Yes.                                        12   that section of your report wherein you are
13       Q. And have you ever been asked to give        13   stating your opinions that the Claim 1 of the
14   an opinion about a claim that patent lawyers       14   '625 patent is not anticipated by Boschelli
15   taught -- defined as a method claim?               15   2001.
16       A. I'm pretty sure the answer to that is       16          And Boschelli is spelled
17   yes. I'm not thinking of one specific claim as     17   B-O-S-C-H-E-L-L-I, correct?
18   we speak, but I'm sure I have.                     18      A. Well, this is really a -- a summary.
19       Q. Based on your experience, is the claim      19   I would say my whole report addresses that
20   of the '625 patent a method claim?                 20   issue.
21       A. That's a legal question. I really           21      Q. Okay. Fair enough.
22   leave that to the lawyers. I mean, my opinion      22          So at 67 here, you say, "Boschelli
23   certainly focused on the science and the meaning   23   2001 discloses a newly lab-synthesized compound
24   within the context of the claim construction.      24   that is tested in animal experiments."
25       Q. Okay. Does -- do you have any               25          Correct?



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                                         Page 50                                                Page 51
1               Trout - Confidential                  1               Trout - Confidential
2       A. Yes.                                       2        Q. So isn't CML characterized by a tumor,
3       Q. That lab synthesized compound is           3    CML that -- the myelogenous tumor cells?
4    bosutinib, correct?                              4           MS. PIPER: Objection to form.
5       A. Yes, the Compound 31a.                     5        Q. I mean -- I mean, that is what
6       Q. Okay. All right. Compound 31a in           6    characterized the CML, right, having tumors that
7    Boschelli 2001 is bosutinib, right?              7    are cancerous?
8       A. That's the molecule, yes.                  8           MS. PIPER: Objection. Outside the
9       Q. Okay. Next you say, "In those animal       9        scope of Dr. Trout's opinion.
10   studies reported in Boschelli 2001, human CML    10       A. I'll leave it to the medical doctors
11   tumor cells were introduced into laboratory      11   to answer that question.
12   mice, and the tumors were assessed after         12       Q. So you don't disagree that human CML
13   administration of Compound 31a."                 13   tumor cells were introduced into the laboratory
14          Correct?                                  14   mice, correct?
15      A. Yes, that's what I wrote.                  15       A. Correct.
16      Q. Okay. And then you go on to say, "The      16       Q. Okay. And that those CML tumor cells
17   mice did not have CML."                          17   were allowed to proliferate in the mice,
18          And so first -- let's just focus on       18   correct?
19   that for a moment. What do you mean when you     19       A. Well, there were different types of
20   say, "Mice did not have CML"?                    20   experiments but broadly speaking, I would say
21      A. What I mean is that the mice were not      21   the cells were introduced, and the effects of
22   being treated for CML. They didn't -- they       22   various compounds on those cells were tested, in
23   weren't taken to the lab with CML. They were     23   particular bosutinib.
24   specifically given humor CML tumor cells to be   24       Q. And -- right. And so bosutinib was
25   experimented on.                                 25   administered to these mice after they had -- the

                                         Page 52                                                Page 53
 1              Trout - Confidential                   1             Trout - Confidential
 2   CML tumor cells had been introduced, correct?     2      A. Yes.
 3          Let me direct you to -- perhaps I can      3      Q. Okay. And then you write here that,
 4   direct you to page 46 of your report.             4   "Boschelli 2001 concluded Compound 31a
 5       A. So I think that there were two             5   effectively inhibited tumor growth."
 6   different types of experiments which they call    6          Correct?
 7   staged and unstaged and --                        7      A. Yes, I'm just quoting from Boschelli.
 8          MS. PIPER: Clarification. Paragraph        8      Q. And you don't disagree with that
 9       46 or page 46?                                9   conclusion, correct?
10          MR. BENSON: Paragraph 46.                 10          MS. PIPER: Objection. Outside the
11       Q. Are you at paragraph 46?                  11      scope of Dr. Trout's opinion.
12       A. Yes.                                      12      A. I don't have an opinion. I'm just
13       Q. Okay. All right.                          13   quoting -- this is background on Boschelli, and
14       A. So in the experiments discussed at the    14   I'm just quoting Boschelli here.
15   top of 46, the -- the tumor cells were           15      Q. Okay. So you didn't independently
16   inoculated first.                                16   assess whether Compound 31 did or did not
17       Q. And then they were allowed to reach       17   inhibit tumor growth in this model, correct?
18   15 percent of the body weight of the mouse,      18          MS. PIPER: Objection. Outside the
19   correct?                                         19      scope of Dr. Trout's opinion.
20       A. Well, I mean, that's when -- I guess,     20      A. That's correct.
21   as I have written here, that's when the          21      Q. Do you have any reason to disagree
22   experiment was ended.                            22   with the conclusions of Boschelli?
23       Q. Right. Okay.                              23          MS. PIPER: Objection. Outside the
24          Well, let me -- and then there was an     24      scope of Dr. Trout's opinion.
25   unstaged model, correct?                         25      A. I don't have any reason to agree or



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                                           Page 54                                               Page 55
1              Trout - Confidential                     1               Trout - Confidential
2    disagree. I'm just providing quotes of             2   setting aside for the moment -- so the vehicle
3    background from Boschelli. I didn't analyze        3   we see here that you describe at paragraph 46, I
4    that separately.                                   4   think it's the second -- no, third full
5           MR. BENSON: Okay. Okay. Do you want         5   sentence, you're quoting, and it says, "The
6       to take a -- is this a good time for a          6   vehicle used was 2 percent TWEEN 80 and
7       short break?                                    7   5 percent dextrose/water."
8           THE WITNESS: Sure. If you want to           8          You see that?
9       keep going, we can keep going. If you want      9       A. Yes, that's part of the quote.
10      to take a break --                             10       Q. Okay. Now, setting aside the
11                                                     11   pharmaceutical grade of excipients used, you
            MR. BENSON: Yeah, I could use a
12                                                     12   don't disagree that that describes a
        break.
13                                                     13   pharmaceutical vehicle that could be used with
            THE VIDEOGRAPHER: The time is
14                                                     14   an API in the context of -- as that would be
        10:14 a.m., and we are going off the
15                                                     15   described in the invention?
        record.
16                                                     16          MS. PIPER: Objection to form.
            (Recess from 10:14 to 10:28.)
17                                                     17       A. I'm sorry, just to be clear, you're
            THE VIDEOGRAPHER: The time is
18                                                     18   asking a hypothetical outside of the Boschelli?
        10:28 a.m., and we are back on the record.
19
                                                       19       Q. Let me ask a different question.
        Q. Okay. All right. Let's return to
20
                                                       20   Okay. Now, do you recall in Dr. Lindsley's
     paragraph 46. And this is, again, just your --
                                                       21   report he gives the opinion that 3 milligrams of
21   you know, kind of just articulation of what you
                                                       22   bosutinib, 10 milligrams TWEEN 80, and 25
22   see in Boschelli, correct?                        23   milligrams of a dextrose/water mixture was
23      A. Well, it's part of the background in        24   placed in a .5 milliliter aqueous vehicle? Do
24   Boschelli.                                        25   you remember that testimony?
25      Q. Yeah. Okay. All right. Now, so

                                           Page 56                                               Page 57
 1              Trout - Confidential                    1              Trout - Confidential
 2      A. Maybe we could go to his report. I           2      directing you to any of those portions.
 3   remember something like that, but I haven't        3         MS. WEISBRUCH: If I need to step out,
 4   memorized his report.                              4      just let me know.
 5         MR. BENSON: Do we have a copy of his         5         MR. BENSON: Sorry, just protective
 6      report?                                         6      order issues.
 7         Here you are.                                7         Can I have this marked as the Trout
 8         MS. PIPER: Thank you.                        8      Deposition Exhibit Number 2, please.
 9         MR. BENSON: I don't know if there            9         (Opening expert report of Craig W.
10      are -- Alembic, if there are portions of it    10      Lindsley, Ph.D. and reply expert report of
11      that are -- there might be portions of it      11      Craig W. Lindsley, Ph.D. were marked Trout
12      that address the infringement position with    12      Exhibit 2 for identification, as of this
13      respect to Sun, so you might want to --        13      date.)
14         MS. WEISBRUCH: And if I need to step        14         THE WITNESS: Thank you.
15      outside the room, that's fine, too.            15         MR. BENSON: Okay. Did I hand you a
16         MR. BENSON: No, that's fine. It's           16      copy, Counsel? I did. Okay. Thank you.
17      just that it might be in the binder so --      17      Sorry.
18         MS. BEIS: The report itself was             18         MS. PIPER: Thank you.
19      submitted on behalf of both Sun and Alembic    19      Q. I've handed you -- the court reporter
20      so --                                          20   has handed you what we've marked as Trout
21         MR. BENSON: Yeah, but there might           21   Deposition Exhibit Number 2, and this is a
22      be -- I think there's a section --             22   binder that contains two documents tabbed 1 and
23         MS. BEIS: We will let you know if           23   2. The first is the opening expert report of
24      something comes up.                            24   Dr. Craig Lindsley and the second is the reply
25         MR. BENSON: I'm not going to be             25   expert report of Dr. Lindsley.



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                                           Page 58                                                  Page 59
 1              Trout - Confidential                    1                Trout - Confidential
 2          Could you please just briefly take a        2    Dr. Lindsley's report wherein he opines the
 3   look at those two documents and confirm these      3    Claim 1 of the '625 patent is invalidated as
 4   are the expert reports of Dr. Lindsley that you    4    anticipated by Boschelli 2001, right?
 5   have reviewed in connection with your work in      5        A. Yes. And that's the heading in the --
 6   this case.                                         6    the previous page 57, section Roman numeral IX.
 7          (Witness reviewing document.)               7        Q. And these are the specific opinions
 8       A. Okay. I've flipped through these,           8    you're responding to in your own expert report,
 9   they're over a hundred pages, and they look like   9    correct?
10   the two reports that I reviewed.                   10           MS. PIPER: Objection to form.
11       Q. Okay. Thank you very much.                  11       A. I mean, I -- I think -- I'm responding
12          I will direct you to the first tab,         12   generally -- in general terms to the opinions in
13   which is the opening report of Dr. Lindsley.       13   his report, or maybe other location, I wouldn't
14   And in particular, I would like you to go to --    14   say it's limited. But this is certainly the
15   paragraph 161 and 162 is where we will be.         15   section in which he opines that the patent is
16          MS. PIPER: One clarification. This          16   invalid or Claim 1 of the patent is invalid.
17       entire binder is Trout Exhibit 2, both         17       Q. Just so -- the avoidance of any
18       reports?                                       18   ambiguity moving forward, the only opinion of
19          MR. BENSON: Yes.                            19   Dr. -- well, Dr. Lindsley has provided a number
20          MS. PIPER: Thank you.                       20   of opinions about the invalidity of the '625
21          MR. BENSON: You're welcome.                 21   patent, correct?
22       A. Without the exhibits?                       22       A. Yes.
23       Q. That's correct.                             23       Q. And one of those opinions, speaking in
24       A. Okay. I'm at paragraph 161 and 162.         24   the broadest sense, is that Claim 1 of the '625
25       Q. Okay. Now, this is that part of             25   patent is anticipated and therefore invalid,

                                           Page 60                                                  Page 61
 1            Trout - Confidential                      1               Trout - Confidential
 2   correct?                                           2    that's clear. Thank you.
 3      A. Correct. That's one of Dr. Lindsley's        3           All right. So let's return to
 4   opinions.                                          4    paragraph 161, and in this particular paragraph,
 5      Q. And that is the sole opinion to which        5    second sentence, Dr. Lindsley is -- is stating
 6   you are responding to in this case, correct?       6    his understanding of Boschelli 2001 as
 7      A. Yes, that's correct. Specifically            7    disclosing, "Xenograft studies wherein bosutinib
 8   anticipation due to the Boschelli 2001 document.   8    was dosed ip in amounts up to 100 milligrams per
 9      Q. Correct.                                     9    kilogram as a 0.5 milliliter solution prepared
10      A. Correct.                                     10   in 2 percent TWEEN 80, 5 percent
11      Q. Okay. I just wanted to be sure, any          11   dextrose/water."
12   of his other opinions about the '625 patent        12          Do you see that?
13   being invalid for written description, for         13      A. Yes, I see that written here.
14   example, you're not opining on that particular     14      Q. Do you disagree with Dr. Lindsley in
15   aspect of his report, correct?                     15   that regard?
16      A. Correct.                                     16      A. Well, I don't disagree that -- that
17      Q. And his opinions about enablement or         17   Boschelli states that. I mean, Boschelli is
18   any section -- well, any of the section 112        18   doing a lot more than just that, and other
19   arguments he is making in his report, you're not   19   amounts, too. But there's nothing wrong with
20   responding to those particular arguments,          20   that sentence if one understands that it's part
21   correct?                                           21   of a broader context.
22      A. Counsel, that sounds like a legal            22      Q. Right. Okay. And then the next --
23   term. I'm solely responding to anticipation due    23   the next paragraph 162, Dr. Lindsley concludes,
24   to Boschelli 2001.                                 24   "Thus, Boschelli 2001 discloses a composition
25      Q. Okay. All right. Yeah. I think               25   comprising approximately 3 milligrams bosutinib,



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                                           Page 62                                                 Page 63
 1              Trout - Confidential                    1               Trout - Confidential
 2   10 milligrams TWEEN 80, and 25 milligrams          2    with it in your own responsive report, correct?
 3   dextrose/water in a .5 milliliter aqueous          3           MS. PIPER: Objection to form.
 4   vehicle."                                          4        A. I -- I don't think that I -- well, I
 5           Do you see that?                           5    don't remember specifically. I would have to
 6       A. Yes. And just to be clear, you --           6    look through my report. But I know I did not
 7   actually I think the way you said it is probably   7    reproduce his calculations or attempt to
 8   better because you didn't read the "and enables"   8    validate his assumptions in my report, or in my
 9   so --                                              9    activity in this case.
10       Q. Yeah, I didn't want to get -- yeah, I       10       Q. Okay. Do you have any reason, as you
11   just wanted you to focus on the composition that   11   sit here today, to disagree with Dr. Lindsley
12   he describes. Okay?                                12   with respect to his conclusions here at
13       A. Yes. Okay.                                  13   paragraph 162 as to the composition components?
14       Q. And we'll get back to the enabled           14       A. I don't have a reason to disagree or
15   part.                                              15   to agree with his 3 milligrams of bosutinib
16           But do you disagree with Dr. Lindsley      16   calculation, except that he seems to take only
17   that the composition disclosed in Boschelli is     17   one of the concentrate -- one of the amounts of
18   as stated here in paragraph 162?                   18   dosing used by Boschelli 2001.
19       A. Well, Dr. Lindsley seems to be basing       19       Q. Okay.
20   that on certain assumptions and calculations.      20       A. There are others there, too.
21   I -- I didn't try to reproduce those               21       Q. Okay. Well, it's fair to say you
22   calculations or determine whether his              22   don't independently come up with your own
23   assumptions are valid or not. But I can take       23   calculations with respect to the compositions
24   what he's written here and discuss it.             24   disclosed in Boschelli, correct?
25       Q. Okay. Well, you haven't disagreed           25       A. That's correct. I did not do my own

                                           Page 64                                                 Page 65
 1              Trout - Confidential                     1               Trout - Confidential
 2   calculations.                                       2   synthesized and tested to -- in a series of
 3       Q. Okay. And we can agree just for --           3   experiments to determine its effects on various
 4   just broadly speaking, setting aside whether or     4   cells and other assays.
 5   not any of the excipients used in Boschelli were    5       Q. Okay. You don't disagree bosutinib
 6   pharmaceutical grade excipients, we can agree       6   is, in fact, an active pharmaceutical
 7   that Boschelli discloses compositions containing    7   ingredient, right?
 8   bosutinib, correct?                                 8           MS. PIPER: Objection to form.
 9       A. Compositions as such, Boschelli does         9       A. I don't disagree that it is today.
10   not call them pharmaceutical compositions. But     10       Q. So do you disagree that at the time of
11   if you mean compositions broadly, then, yes.       11   Boschelli that bosutinib was an active
12       Q. Yes. And those compositions disclosed       12   pharmaceutical ingredient?
13   in Boschelli are compositions containing           13       A. I -- I don't know if I've specifically
14   bosutinib as the API, correct?                     14   opined upon that. I mean, I know that it's not
15       A. Well, again, API means active               15   used as a pharmaceutical. Let's put it that
16   pharmaceutical ingredient. The bosutinib is        16   way. And -- and to me sitting here and trying
17   designated as Compound 31a in Boschelli. And       17   to answer your question, an active
18   again -- and I elaborate my opinions in my         18   pharmaceutical ingredient has to have a
19   report, but it's not being used as a               19   pharmaceutical effect.
20   pharmaceutical here. So I wouldn't use it as       20       Q. When --
21   an -- I wouldn't characterize it as an API, and    21       A. I don't think -- and I don't think
22   I don't think Boschelli does either.               22   that's -- the objective was not to have a
23       Q. What would you characterize bosutinib       23   pharmaceutical effect per se in Boschelli. It
24   in this composition? What is it?                   24   was to study the effect of a variety of
25       A. It's a -- a chemical that was               25   different synthesized chemicals including 31a,



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 1              Trout - Confidential                     1              Trout - Confidential
 2   which we can call bosutinib.                        2   same bosutinib as is currently marketed in
 3        Q. What -- when you say "pharmaceutical        3   the -- in the drug Bosulif I believe is the --
 4   effect," what does that mean to you?                4   yeah, Bosulif, correct?
 5        A. It means -- or we could use the term        5      A. Yes, that's my understanding.
 6   "pharmaceutical activity." It means to me that      6      Q. Okay. So the identity of the actual
 7   it's used to treat, let's say, patients of          7   chemical entity is -- is no different in
 8   whatever sort. I don't mean that it has to be       8   Boschelli than it is in the marketed drug
 9   commercialized. It could be earlier than that.      9   Bosulif, right?
10        Q. So is it -- is your definition             10          MS. PIPER: Objection to form. And
11   intentional? In other words, when it's being       11      also objection. Outside the scope of
12   administered, one has to intend it to have a       12      Dr. Trout's opinion.
13   specific effect? Is that what you're               13      A. I mean, it -- again, I'm not sure
14   suggesting?                                        14   maybe what you mean by "chemical entity." I
15        A. I don't think I'm suggesting that it's     15   think maybe I -- if I understand your question
16   intentional, that it's -- intentionality. I        16   correctly, what I have opined upon is that the
17   think -- I mean, it depends what you mean. It      17   31a as it synthesized and with the impurity
18   has to be administered in a certain context, so    18   levels, and whatnot, is not an API as such,
19   in that way maybe there's an intentionality in     19   something that would go into a -- a -- a
20   choosing the context.                              20   pharmaceutically acceptable composition.
21        Q. So the compound described in Boschelli     21      Q. The -- an active pharmaceutical
22   is bosutinib, correct, the Compound 31a? I         22   ingredient, so to the -- let me strike that.
23   mean, we've already established that, right?       23          To the extent we're talking about
24        A. Yes.                                       24   bosutinib as an active pharmaceutical
25        Q. All right. And chemically it's the         25   ingredient, we're talking about the chemical

                                            Page 68                                                Page 69
1               Trout - Confidential                    1               Trout - Confidential
2    compound bosutinib, correct?                       2    report pages 14 and 15, paragraphs 51 and 52, in
3        A. No, I think we're talking about the         3    which a defined active pharmaceutical
4    compound -- well, there were two different         4    ingredient, component of a pharmaceutical
5    contexts, and maybe we're talking at cross         5    composition, and -- and it goes on. And I -- I
6    purposes. But active pharmaceutical ingredient,    6    think as a summary, an important part is that
7    API, uses pharmaceutical, so it seems to me that   7    the API has to meet certain specifications.
8    it's more than just a chemical. There's            8           And I should say, there are other
9    something more behind it than just that. If you    9    parts of my report in which I discuss this.
10   want to define it as such, you know, we can talk   10   This is one part, right? You can go to the
11   about it in those terms.                           11   other parts if you want.
12       Q. Did the inventors do -- in this --          12       Q. All right. So I understand your
13   in -- did the inventors of the '625 patent do      13   opinion that -- I understand your opinion that
14   anything to the chemical compound bosutinib that   14   the bosutinib in Boschelli was not
15   was different than -- or that rendered it to be    15   pharmaceutically acceptable as you use that
16   a pharmaceutical wherein in Boschelli it was       16   term, correct? That's your opinion?
17   not?                                               17       A. My opinion is that it's likely not.
18          MS. PIPER: Objection. Outside the           18   It was not characterized as such, and so it's
19       scope of Dr. Trout's opinion.                  19   likely not.
20       A. I didn't opine on that question.            20       Q. Okay. That's fair. Thank you.
21       Q. So I'm trying to understand, I guess,       21          But you're -- you're not saying that
22   how bosutinib is a pharmaceutical now but it was   22   bosutinib itself doesn't have the very same
23   not a pharmaceutical in Boschelli. And can you     23   activity in inhibiting, for example, Src kinase,
24   help me understand your opinions in that regard?   24   tyrosine kinase, as it does in the marketed
25       A. Yes. For example, we can look at my         25   product Bosulif, right?



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1               Trout - Confidential                    1              Trout - Confidential
2            MS. PIPER: Objection. Outside the          2           (Witness reviewing document.)
3        scope of Dr. Trout's opinion.                  3        A. I -- I think a better way of saying is
4        A. I haven't opined on the activity of         4    what -- what I opined is, for example, on
5    this drug per se, or the activity of a compound,   5    page 25, paragraph 77, "There is no indication
6    or -- or whatnot.                                  6    in Boschelli 2001 of pH control in the disclosed
7        Q. You don't disagree that Boschelli           7    TWEEN 80, dextrose/water solution," that's one
8    concluded by administering the composition that    8    aspect. And I talk about various, let's say,
9    contained bosutinib, they were able to inhibit     9    lacks of indication. So there's no indication
10   tumor growth in the mice they studied, right?      10   that what we are discussing is a pharmaceutical
11           MS. PIPER: Objection. Outside the          11   composition and for a variety of reasons.
12       scope of Dr. Trout's opinion.                  12       Q. Okay. The question I have then is, as
13       A. I think, as we discussed, I quoted          13   you sit here today, is it your opinion that the
14   Boschelli in background, for example, paragraph    14   Boschelli composition is not a pharmaceutical
15   46. I didn't independently analyze that.           15   composition?
16       Q. But you are testifying today that the       16       A. My opinion -- and, again, there's a
17   bosutinib in Boschelli is not a pharmaceutical;    17   lot in my report that gets here -- is that
18   is that right?                                     18   there's no indication that it discloses a
19           MS. PIPER: Objection to form.              19   pharmaceutical composition for -- for a variety
20       A. It's -- it's -- well, it's not a            20   of reasons that I mention here.
21   pharmaceutical composition.                        21       Q. Does the fact that the composition was
22       Q. Okay. So the -- the composition which       22   administered ip to mice for the purposes of
23   included bosutinib, TWEEN 80, dextrose, and        23   inhibiting tumor cell growth any indication to
24   water, your opinion is, that is not a              24   you as to whether or not it was a pharmaceutical
25   pharmaceutical composition; is that right?         25   composition?

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 1               Trout - Confidential                    1              Trout - Confidential
 2          MS. PIPER: Objection. Outside the            2   pharmaceutical grade, correct?
 3       scope of Dr. Trout's opinion.                   3       A. That's correct.
 4       A. I don't think I have in my report an         4       Q. So --
 5   opinion about that.                                 5       A. If -- just to be clear, that's
 6       Q. Okay. So if -- if the -- if the --           6   another -- there's a variety.
 7   can we just agree that whether it's a               7       Q. Yeah. So let's say a hypothetical
 8   pharmaceutical composition or not, that             8   that Boschelli disclosed that the bosutinib was
 9   Boschelli, in fact, discloses a composition,        9   pure and that the excipients used were
10   correct?                                           10   pharmaceutical grade excipients. Would that
11       A. Yes, we can call it a composition.          11   then change your opinion as to whether or not
12       Q. Okay. So the composition of                 12   Boschelli disclosed a pharmaceutical
13   Boschelli, had they included purity information    13   composition?
14   as to the bosutinib, would that change your        14       A. Well, I would need to -- certainly
15   opinion as to whether or not the composition of    15   that would affect -- if the excipients were
16   Boschelli was a pharmaceutical composition?        16   disclosed as pharmaceutically acceptable, that
17       A. So it depends on the details of this        17   would certainly affect my analysis. I'm not
18   hypothetical. I mean, I would have to go           18   sure what "purity" means in -- in the context of
19   through what their disclosure would be. I mean,    19   your question. I mean --
20   there's -- that's not the sole reason. I have a    20       Q. Well, one of the issues you took with
21   whole variety of reasons which led me to this      21   the bosutinib was that it hadn't been purified
22   opinion.                                           22   to the degree one would expect of a -- an API
23       Q. Okay. So one of the other reasons, in       23   that is going to be incorporated in a drug for
24   your opinion, was that there was no indication     24   use in treating patients, right?
25   in Boschelli that the excipients used were         25       A. Yes. Purity is a -- was a significant



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1               Trout - Confidential                    1               Trout - Confidential
2    issue, for example, on my paragraph 70.            2    pharmaceutical grade excipients. With that
3        Q. Okay. So let's say that the bosutinib       3    hypothetical, how would that change your opinion
4    was pure, and the excipients used in the           4    as to whether or not the composition in
5    Boschelli composition were pharmaceutical grade    5    Boschelli was a pharmaceutical composition?
6    excipients. Now, with that information, would      6            MS. PIPER: Objection to form.
7    your opinion change as to whether or not the       7        A. I would have to go through -- I mean,
8    composition of Boschelli is a pharmaceutical       8    I list a whole variety of other issues. But
9    composition?                                       9    that would change my set of opinions in the
10       A. And, Counsel, I'm not trying to split       10   sense that those two opinions, again, with
11   hairs but it's -- I think saying that a compound   11   purity being -- it was characterized in an
12   is pure is a little more complicated. So it has    12   adequate way for a pharmaceutical, I would have
13   to be characterized and the -- the impurity        13   to take that into account in a reanalysis.
14   profile needs to be characterized. If you're       14       Q. Okay. But you haven't -- you haven't
15   telling me that it was characterized and there     15   considered that in -- as you sit here today, you
16   was no detectable impurities, then that would --   16   haven't considered that -- how those factors
17   I would have -- have to redo my analysis --        17   would change your opinion. Is that fair?
18       Q. Okay.                                       18       A. Well, I've considered them broadly in
19       A. -- based on that.                           19   the sense that I considered what was necessary
20       Q. Okay.                                       20   for something to be a pharmaceutical composition
21       A. It would be very unusual if that were       21   and what the disclosure in Boschelli 2001 was.
22   the case.                                          22   So I considered them in that broad sense. I
23       Q. Well, let's say that is the case.           23   didn't do an -- before today do an exercise in
24   Let's say it is pure bosutinib, and the            24   the specific hypothetical.
25   excipients in the formulation were                 25       Q. So you'll agree with me Boschelli

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 1              Trout - Confidential                    1               Trout - Confidential
 2   doesn't disclose -- well, strike that.             2    say, disclosing it to the reader of this paper,
 3           You'll agree with me the excipients        3    if you want to say it that way.
 4   used in the Boschelli experiments weren't          4        Q. But wouldn't a person of ordinary
 5   identified as non-pharmaceutical grade             5    skill in the art who is familiar with animal
 6   excipients, right?                                 6    studies expect that the excipients were
 7           MS. PIPER: Objection to form.              7    pharmaceutical grade excipients?
 8       A. That's right. They -- their source          8           MS. PIPER: Objection to form.
 9   was not identified at all. And so they weren't     9        A. I think I've given a variety of
10   explicitly identified as non-pharmaceutical        10   opinions in which person, let's say, would not
11   versions. But I think the skilled person would     11   necessarily expect from the disclosure in
12   expect that if they were pharmaceutical            12   Boschelli, and specifically, there's a reference
13   compositions, that would be disclosed.             13   from an author named Wolff which talks about the
14       Q. Why is that?                                14   fact that they could very well be
15       A. Because it means that there was a -- a      15   non-pharmaceutical grade.
16   specific grade that was used, and there was --     16       Q. But doesn't Wolff disclose that the
17   there would be specific attention paid to that.    17   default is that it -- that excipients should be
18   The researchers in Boschelli did not pay           18   pharmaceutical grade excipients, absent some
19   specific attention to the type of -- call them     19   extenuating circumstances?
20   excipients used.                                   20          MS. PIPER: Objection to form.
21       Q. Are you saying they didn't pay              21       Q. And if you would like to go to Wolff,
22   attention to it, or they simply didn't disclose    22   we can do that.
23   it in their paper?                                 23       A. Yes, that would be great.
24       A. Well, I mean, pay attention to it in        24       Q. Let's go to -- this is going to be
25   the sense of bringing attention to it, let's       25   Exhibit T, as in Tom, in your report.



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 1             Trout - Confidential                     1               Trout - Confidential
 2          And -- you have that?                       2    that you focused on is that Wolff recognized
 3      A. Yes, I'm there.                              3    that under certain circumstances the use of
 4      Q. Okay. Is this the Wolff reference            4    non-pharmaceutical grade excipients is allowed,
 5   you're referring to?                               5    right?
 6      A. Yes.                                         6        A. Well, I mean, the second sentence in
 7      Q. Okay. All right. And I believe the           7    the query is probably important because it also
 8   specific section you were addressing is on -- if   8    differentiates survival versus non-survival
 9   you look at the bottom left-hand corner of the     9    experiments. But the way Wolff answers it in
10   Wolff reference, there is a page number. And       10   his first sentence that you're referring to,
11   I'm looking at page 34. Are you there?             11   alluding to that it's allowed but specifically
12      A. Yes.                                         12   saying, "It's a necessary and acceptable
13      Q. And your opinion focuses on the              13   component of biomedical research."
14   question in the middle column of Wolff. It's       14       Q. Okay. So -- but doesn't -- but Wolff
15   the third question, and it states, "Are the        15   goes on to say that, "The use of
16   scientists at our institution allowed to use       16   non-pharmaceutical grade excipients should be
17   non-pharmaceutical grade chemical compounds in     17   based on, 1, scientific necessity, 2,
18   physiological preparations involving laboratory    18   nonavailability of an acceptable veterinary or
19   animals?"                                          19   human pharmaceutical grade compound, and, 3,
20          Right? That's the question?                 20   specific review and approval by the IACUC."
21      A. Yes. And then there's another                21           Correct?
22   sentence after that but that's --                  22       A. Yes.
23      Q. Okay. And then it -- right. So let's         23       Q. All right. Now, do you see anything
24   focus on that part of it first. And so it's        24   in Boschelli that would lead you to believe that
25   your opinion that Wolff -- and I think the part    25   there was a scientific necessity to use

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 1              Trout - Confidential                     1               Trout - Confidential
 2   non-pharmaceutical grade TWEEN 80 and dextrose?     2   pharmaceutically acceptable excipients were
 3       A. Well, I would say it the other way           3   used. And, again, that's just part of my
 4   around. There was not a scientific necessity        4   opinion. The composition and the chemical
 5   for Boschelli to use pharmaceutical grade           5   itself are other parts of it. But if we're just
 6   compounds. So I think that's the way I would        6   focused on the excipients...
 7   address Number 1 here.                              7       Q. But here the use of non-pharmaceutical
 8       Q. Isn't -- I mean, when scientists are         8   excipients has to be based on scientific
 9   doing research involving laboratory animals,        9   necessity, not the use of pharmaceutical
10                                                      10   excipients, correct?
     isn't the fact that these are living creatures
11                                                      11           MS. PIPER: Objection to form.
     reason enough in a scientific justification for
12                                                      12       A. Well, I mean, my reading of it is, is
     using pharmaceutical grade excipients in things
13                                                      13   it necessary to use non-pharmaceutical? Is it
     being administered to those animals?
14                                                      14   necessary to use pharmaceutical? One would -- I
         A. No. I think that's exactly the point
15                                                      15   think you have to look at this in a broader --
     of the Wolff reference. Again, these animals
16                                                      16   in the broad way in which the authors Wolff, et
     were specifically induced with cancer with the
17                                                      17   al., are trying to address this.
     intention of studying the effect of chemical --
18                                                      18       Q. Did you talk to any of your colleagues
     chemicals on cancer, with the intention that no
19                                                      19   who do scient -- who do animal research to
     matter what they were to be sacrificed.
20
                                                        20   determine what their standard practice would be
         Q. So under those circumstances it didn't
                                                        21   with respect to the use of pharmaceutical versus
21   matter whether it was pharmaceutical grade
                                                        22   non-pharmaceutical grade excipients?
22   excipients. Is that your testimony?
                                                        23       A. No.
23       A. My testimony is that there's no             24       Q. Okay. Well --
24   indication that pharmaceutical excipients were     25       A. And I mean, just to be clear,
25   used, and there was not a necessity that



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1              Trout - Confidential                     1               Trout - Confidential
2    specifically in this case and specifically in      2           But a couple of those opinions are
3    that way.                                          3    that there's no specific disclosure that they're
4        Q. Right.                                      4    pharmaceutical grade. Also, there's no
5        A. I've certainly talked to colleagues         5    scientific necessity because these are
6    outside of this case and before about animal       6    experiments that are done early on in the
7    studies and what they use.                         7    discovery phase in which the animals are induced
8        Q. You've had discussions about that           8    with the cancer and meant to be sacrificed.
9    specific issue, about whether they use             9        Q. Okay. So this idea that the animals
10   pharmaceutical grade or non-pharmaceutical grade   10   are meant to be sacrificed, can you just
11   excipients in compositions they're administering   11   explain -- and I know that you've -- you've
12   to animals?                                        12   talked generally about that, but how is that
13       A. I have not specifically posed that          13   important for your opinion that the Boschelli
14   question. I just had general discussions.          14   composition was not a pharmaceutical
15       Q. Okay. So what is the basis of your          15   composition?
16   understanding that a person of ordinary skill in   16       A. Because the animals are not being
17   the art reading Boschelli would not understand     17   treated per se to cure a disease. They're being
18   the excipients to be pharmaceutical grade          18   studied for the effects of various compounds
19   excipients?                                        19   and -- in various assays including the xenograft
20       A. Again, my opinion is that there's not       20   study. And so the idea is not to treat them.
21   an indication that they're pharmaceutical grade    21   The idea is to study and then sacrifice them
22   excipients, and that's based on -- I mean,         22   regardless of the outcome. So -- yeah, stop
23   there's a variety of reasons in my report. But     23   there.
24   if you want me just to summarize, I mean, I        24       Q. Okay. So one -- one -- so the fact
25   would take my opinions as a whole in the report.   25   that they're going to be sacrificed leads you to

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 1               Trout - Confidential                    1              Trout - Confidential
 2   believe that they're not being treated, correct?    2   they are. And if you look at the totality of
 3           I mean, that's one opinion you have?        3   the context of the experiments, including the
 4       A. I think that's an important component.       4   fact that they were to be sacrificed, and that's
 5       Q. Okay. And then anything else? Any            5   an important element, but that's -- that is one
 6   other relevance to the fact that these are --       6   element of a set of disclosures which leads to
 7   animals are going to be sacrificed? How does        7   my opinion that there's -- and conclusion that
 8   that affect any of your other opinions about the    8   there's no indication that these are
 9   composition in Boschelli?                           9   pharmaceutically acceptable excipients.
10       A. Well, again, my conclusions are based       10      Q. Okay. Now, you don't disagree with me
11   on my analysis as a whole, and that's really the   11   that pharmaceutical grade TWEEN 80 is readily
12   entirety of the substance of my report. So it's    12   available and would have been at the time of the
13   all -- it's all part of analysis of the full       13   invention, correct?
14   disclosure in Boschelli.                           14      A. Well, available, it depends what you
15       Q. Okay.                                       15   mean by "ready." One --
16       A. So that full disclosure including the       16      Q. It can be purchased?
17   fact that they were not going to survive, they     17      A. -- it could have been -- could have
18   were going to be sacrificed, leads me to the       18   obtained it. I'm not sure if there would have
19   conclusion that I had.                             19   been delays or what the supply chain would be,
20       Q. Would that lead a person of ordinary        20   but it was obtainable.
21   skill in the art, the fact that they were going    21      Q. Yeah. You could have bought it from
22   to be sacrificed, to believe the excipients used   22   Sigma, right, pharmaceutical grade TWEEN 80?
23   were not pharmaceutical grade excipients?          23      A. Yes, I think that's one possibility.
24       A. Again, I'm -- I'm saying that that is       24      Q. Okay.
25   another indication. There's no disclosure that     25      A. Assuming it was in stock.



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1               Trout - Confidential                     1              Trout - Confidential
2         Q. And one could have also purchased           2   acceptable water from Sigma, for example?
3    pharmaceutical grade dextrose from Sigma at the     3       A. I'm not sure if Sigma is a supplier,
4    time as well, correct?                              4   but there are suppliers that one could buy it
5         A. Yes, I think that's correct.                5   from.
6         Q. And one could have easily obtained          6       Q. In your experience do labs buy
7    purified water, correct?                            7   pharmaceutical grade water, or do they create it
8         A. Well, again, water, as I've talked,         8   in their lab using their own filtration devices?
9                                                        9       A. I'm not sure how they -- there are
     it's not just a matter of purified. It has to
10                                                      10   various routes of obtaining it. I'm not sure
     be purified and meet certain criteria to be
11                                                      11   what's most prevalent.
     acceptable in a pharmaceutical composition.
12                                                      12       Q. Okay. And the filtration device you
          Q. But don't laboratories typically --
13                                                      13   have in your lab, explain to me what -- what is
     laboratories that are dealing with
14                                                      14   the purpose of that specific device?
     pharmaceutical compositions, don't they
15                                                      15       A. The purpose is to filter and treat
     typically have water purification devices in the
16                                                      16   water. My lab is in Cambridge, Massachusetts.
     laboratories that essentially filter water to
17                                                      17   They have a certain degree, certain criteria for
     create sterile, pure water?
18                                                      18   water. We filter it to try to remove impurities
          A. Well, I think that's the intention
19
                                                        19   that we don't want in the water that, you know,
     behind, you know, a typical water, let's say,      20
20   filtration device. I have one in my lab. But I          the City of Cambridge, whoever produces their
                                                        21   water, leaves in it.
21   have not specifically analyzed or even used it,    22       Q. Would a person of ordinary skill in
22   tested it to see if it meets some set of           23   the art have expected the composition in
23   standards that would make it pharmaceutically      24   Boschelli was comprised of water that had been
24   acceptable.                                        25   filtered in the same way that you filter water
25        Q. Do laboratories buy pharmaceutically

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 1              Trout - Confidential                    1              Trout - Confidential
 2   in your lab?                                       2    that the TWEEN 80 was pharmaceutical grade?
 3       A. I'm not sure. There's no indication         3    TWEEN 80?
 4   that it was -- how it was obtained.                4        A. I think I address this, for example,
 5       Q. But the question is, would a person of      5    in my paragraph 74 in which I say, specifically
 6   ordinary skill in the art reading Boschelli have   6    referring to the previous sentence, "Nothing in
 7   that expectation, that that's the type of water    7    Boschelli 2001 suggests that the inactive
 8   filtration -- that's the type of water that        8    components," including TWEEN 80 in your
 9   would have been used in the composition?           9    question, dot dot dot, "in the formulation
10       A. I think it's possible, maybe likely,        10   administered to the laboratory mice were
11   but not certain. I mean, I think it would have     11   pharmaceutical grade or would have been
12   to be disclosed for someone to be certain about    12   pharmaceutically acceptable as used." And
13   that.                                              13   there's some references.
14       Q. Okay. So there's no absolute                14       Q. Okay. I appreciate that. My question
15   certainty that that is what was used in the        15   was different. Which is, namely, a person of
16   composition of Boschelli, right?                   16   ordinary skill in the art reading -- well,
17       A. Well, I didn't say absolute certainty.      17   before we get to there, let's agree on one
18   I mean, what is absolutely certain? I -- I said    18   thing.
19   certainty.                                         19          We can both agree Boschelli is silent
20       Q. Okay.                                       20   as to whether the TWEEN 80 or -- well, let's
21       A. I said it's possible, but it's also         21   start with TWEEN 80, is silent as to whether the
22   possible not.                                      22   TWEEN 80 used in the composition of Boschelli
23       Q. How about the -- from the perspective       23   was pharmaceutical grade or non-pharmaceutical
24   of a person of ordinary skill in the art reading   24   grade, correct?
25   Boschelli, would their expectation have been       25          MS. PIPER: Objection to form.



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1               Trout - Confidential                     1              Trout - Confidential
2        A. Correct in the sense there's no              2   don't change.
3    specific disclosure of the source or the grade      3          And that's why I wanted to stick to
4    of TWEEN 80.                                        4   specifically what I wrote here in the text
5        Q. Okay. And Boschelli is similarly             5   suggests that the inactive components, including
6    silent as to whether the dextrose used in the       6   TWEEN 80 -- there's nothing that suggests that
7    compositions of Boschelli was pharmaceutical        7   they were pharmaceutical grade or would have
8    grade versus non-pharmaceutical grade, correct?     8   been pharmaceutically acceptable as used;
9        A. That's correct in the sense that             9   definitely from the point of view of the person
10   there's no specific disclosure as to the source    10   of ordinary skill in the art.
11   or the -- or the type of dextrose.                 11       Q. Well, is there anything about a person
12       Q. Okay. So with that understanding, my        12   of ordinary skill in the art's just experience
13   question is a little bit different then. It is,    13   that would have led them to believe that the
14   a person of ordinary skill in the art reading      14   pharmaceutical excipients used in Boschelli
15   Boschelli, what would their expectation have       15   were, in fact, pharmaceutical grade excipients?
16   been based on their own knowledge and experience   16          MS. PIPER: Objection to form.
17   as to whether or not the TWEEN 80 was              17       A. I -- I think -- if you mean some
18   pharmaceutical grade?                              18   degree of certainty, I think -- I mean, I would
19       A. Yes and -- maybe I don't understand,        19   stick to the words the way I used it in my
20   if -- to the extent I understand your question,    20   report, because I know this is a key question in
21   and I emphasize maybe this helps, all the          21   the case, but there's no indication that these
22   opinions in my report are based on the point of    22   are pharmaceutically acceptable or
23   view of a person of ordinary skill in the art as   23   pharmaceutical grade, and so I don't think the
24   I've defined it, or -- you know, there's two       24   skilled person would have had certainty that
25   different definitions. Either one the opinions     25   they are pharmaceutical grade if -- if there's

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 1              Trout - Confidential                    1              Trout - Confidential
 2   no indication.                                     2    my report.
 3          And, again, it's also based on the          3       Q. So if a person of ordinary skill in
 4   type of study and the context, and sort of the     4    the art was experienced in doing animal studies
 5   overall disclosure in the document, too.           5    and based on that experience understood that
 6       Q. Including the fact that the animals         6    pharmaceutical grade excipients should be used,
 7   were to be sacrificed, right?                      7    how would that -- wouldn't that influence their
 8       A. Yes, that's part of it, including           8    expectation about whether the TWEEN 80, for
 9   the -- but also the general context of the study   9    example, used in the composition of Boschelli
10   which is really in the phases of drug discovery.   10   was pharmaceutical grade?
11       Q. The -- well, would a person of              11          MS. PIPER: Objection to form.
12   ordinary skill in the art reading Boschelli        12      A. Well, I -- I think I put that -- I
13   believe it was more likely than not that the       13   took into account that possibility in -- in my
14   TWEEN 80 used was pharmaceutical grade?            14   analysis, and included a lot of, you know,
15          MS. PIPER: Objection to form.               15   references and a lot of analyses to achieve
16       A. And just to be clear, this sounds to        16   my -- or to, you know, come up with my opinions,
17   me like a legal term. Are you asking more          17   obtain my opinions.
18   likely than not as --                              18          MR. BENSON: Let me mark something
19       Q. No, it's not.                               19      here. Could we mark this as Trout
20       A. Not. Okay. So not a legal term.             20      Deposition Exhibit Number 3.
21          I think my opinion is that the skilled      21          (Guide for the Care and Use of
22   person would understand that there's no            22      Laboratory Animals was marked Trout Exhibit
23   indication. I'm not sure what the likelihood       23      3 for identification, as of this date.)
24   would be in a percentage or even qualitative       24          THE WITNESS: Thank you.
25   way. I would stick to the terms that I used in     25      Q. Now, so I've handed you a document we



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                                           Page 94                                                 Page 95
1                Trout - Confidential                   1                Trout - Confidential
2    have marked as Trout Exhibit Number 3, and it is   2    read that paragraph there on page 31, and let me
3    the Guide for the Care and Use of Laboratory       3    know when you're done.
4    Animals. Are you familiar with this document?      4            (Witness reviewing document.)
5        A. No. I'm familiar with the concept but       5        A. Okay. I've read this.
6    not this particular document.                      6        Q. Okay. Now, according to this document
7        Q. And when you say you're "familiar with      7    it states that, "The use of pharmaceutical grade
8    the concept," what do you mean by that?            8    chemicals and other substances ensures that
9        A. Well, that such guides exist, we            9    toxic or unwanted side effects are not
10   talked about that earlier this morning, and the    10   introduced into studies conducted with
11   various criteria.                                  11   experimental animals."
12       Q. Okay. All right. So I would like to         12           Do you agree with that statement?
13   direct you to page -- looks like my page numbers   13       A. Counsel, that's what's written there
14   are behind the clip here. Let me see. I            14   and you read that, I think, accurately. I
15   believe it is page 32 of the document. Do you      15   haven't seen this document before. It's over a
16   see the page numbers are at the corner?            16   hundred pages. It's got -- I don't know how
17       A. I see the pages.                            17   many references, maybe a hundred references or
18       Q. Okay. It's actually page 31 of the          18   so. So I would have to analyze this whole
19   document.                                          19   document to opine on a -- a specific statement
20           Okay. So are you at page 31?               20   as such.
21       A. Yes.                                        21           I don't even know the -- the chapter,
22       Q. Okay. So let's go to that section,          22   heading, or other statements in the document.
23   it's italicized, and it is -- it is titled Use     23   So I -- I can't sitting here, just now having
24   of Non-pharmaceutical Grade Chemicals and Other    24   read that one paragraph --
25   Substances. Okay. Now, take a moment to just       25       Q. Sure. We can --

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1              Trout - Confidential                      1               Trout - Confidential
2        A. -- come up with a conclusion on that         2   here is that pharmaceutical grade excipients
3    sentence.                                           3   should be used when available for all
4        Q. I'm sorry. I didn't mean to talk over        4   animal-related procedures, right?
5    you.                                                5          MS. PIPER: Objection to form. And
6           We can agree that the use of                 6       plaintiffs object to the use of the
7    non-pharmaceutical grade chemicals and other        7       document not considered by Dr. Trout in his
8    substances -- that's exactly what we've been        8       report.
9    talking about for the last 35, 40 minutes,          9       A. I see that's what's written in the
10   right?                                             10   second sentence in that paragraph.
11       A. Well, I think what we've been talking       11       Q. Yeah. It's written that
12   about is whether the disclosure in Boschelli       12   pharmaceutical grade excipients when available
13   2001 is such that the skilled person would         13   should be used, right?
14   understand are pharmaceutical grade, and so I      14       A. Well, I think it's important to -- you
15   have opined it's not indicated and so it's         15   read the whole sentence accurately before. I
16   uncertain. And so I think that's what we have      16   think it's important to take the whole sentence
17   been talking about.                                17   into account, including the unwanted side
18       Q. I get that it's uncertain, and I            18   effects, and -- and other aspects. And so the
19   understand that. What I've been trying to get      19   foc -- and then that's what the "they" refers
20   to is what would -- notwithstanding that it is     20   to, correct, the pharmaceutical grade chemicals
21   not disclosed in Boschelli, what would a person    21   and other substances.
22   of ordinary skill in the art have expected. And    22       Q. Right. And then there's a citation
23   wouldn't you agree based on -- that this           23   here to USDA 1997b. Do you have any
24   particular document on page 31, that -- the        24   understanding as to what that reference is to?
25   paragraph you just read, that the recommendation   25          (Witness reviewing document.)



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                                          Page 98                                                  Page 99
1               Trout - Confidential                     1              Trout - Confidential
2            MS. PIPER: Again, objection.                2   expert report, correct?
3       Dr. Trout has not considered this document       3       A. And just to clarify -- I'll answer
4       in forming his opinion and is not familiar       4   that and to clarify the previous answer, I did
5       with the document.                               5   find now that -- it's actually -- the references
6       A. I'm trying to look up the reference,          6   I think are at the end of the chapter, and maybe
7    but it looks like in the back there are all         7   located in a different place in the end of the
8    kinds of different sections, and it's not           8   whole document, but -- so I see now the Wolff
9                                                        9   reference there.
     readily evident where that reference is. But I
10                                                      10           (Witness reviewing document.)
     don't --
11                                                      11       A. And, yes, this looks to be the same
        Q. Okay.
12                                                      12   reference that is my Exhibit T.
        A. -- I don't think it's part of my
13                                                      13       Q. And then the USDA 1997b reference is
     materials considered.
14                                                      14   also indicated there, correct?
        Q. Okay. Fair enough.
15                                                      15       A. Yes. I see that now in the -- in the
        A. Unless I -- unless I'm missing it. We
16                                                      16   list of references at the end of the chapter,
     could check the list.
17                                                      17   whatever, or section, whatever it is.
        Q. Okay.
18                                                      18       Q. And that reference is to the APHIS
        A. I don't --
19
                                                        19   Policy Number 3, quote, Veterinary Care, July
        Q. All right. So the next sentence here         20
20   says, "The use of non-pharmaceutical grade              17. Do you see that?
                                                        21       A. Yes, I see that.
21   chemicals or substances should be described and    22       Q. Do you know what APHIS stands for?
22   justified in the animal use protocol and be        23       A. No. But it's probably written in this
23   approved by the IACUC."                            24   document somewhere.
24           And the citation here is to Wolff,         25       Q. Okay. All right. And based on the
25   which is the same article you rely upon in your

                                         Page 100                                                 Page 101
 1              Trout - Confidential                     1              Trout - Confidential
 2   date of this, do you understand that this would     2       A. IACUC. Yes. That's what's written
 3   have been the -- the recommendation that they're    3   here.
 4   referring to here that pharmaceutical grade         4       Q. So wouldn't a person of ordinary skill
 5   chemicals or substances should be used when         5   in the art expect that if -- that if
 6   available is a policy that had been promulgated     6   non-pharmaceutical grade chemicals were used,
 7   at least as early as 1997?                          7   that that would be disclosed in the study
 8          MS. PIPER: Objection to form.                8   protocol?
 9       A. I have not reviewed that -- the              9          MS. PIPER: Objection to form.
10   reference, the USDA 1997b reference, so I'm not    10       A. Again, I'm looking at one sentence and
11   sure if this is an accurate characterization.      11   one paragraph, and that's all I've read in this
12   And I haven't reviewed this document either,       12   hundred-page document with lots and lots of
13   except for that one paragraph, so I don't know.    13   references. But I'm -- I'm not -- I don't think
14       Q. Okay. All right. So this document,          14   that Boschelli is disclosing a protocol per se.
15   though, does -- it does cite the Wolff reference   15   Part of a protocol or maybe that is the
16   that you've relied upon in your -- in your         16   disclosure of the protocol. But I'm not,
17   expert report, correct?                            17   frankly, sure exactly what this sentence refers
18       A. Yes.                                        18   to, so I would really have to study this whole
19       Q. And what it says about Wolff is that        19   document in detail.
20   the use of non-pharmaceutical grade chemicals or   20       Q. But wouldn't you agree with me that
21   substances should be described and justified in    21   based on the information in this document, a
22   the animal use protocol and be approved by         22   person of ordinary skill in the art would first
23   AUCUC, right?                                      23   expect that pharmaceutical grade excipients
24       A. IACUC, yes.                                 24   would be used in animal studies when those
25       Q. I apologize.                                25   excipients are available?



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                                         Page 102                                                Page 103
 1             Trout - Confidential                     1               Trout - Confidential
 2          MS. PIPER: Objection. Dr. Trout has         2    right? Because that's what Wolff says, right?
 3       not had a chance no review this document       3        A. No --
 4       and has not considered it in forming his       4        Q. If we go back to Wolff, it says:
 5       opinion.                                       5    Specific review and approval by IACUC has to
 6       A. I'm not sure if that's what the             6    be -- has to be achieved for the use of
 7   document concludes or even indicates,              7    non-pharmaceutical grade excipients.
 8   particularly in the context of the Boschelli       8            Right?
 9   2001 article.                                      9            MS. PIPER: Objection to form. And
10       Q. Okay. Well, wouldn't a person of            10       Dr. Trout has not had a chance to review
11   ordinary skill in the art have understood that     11       this document.
12   if non-pharmaceutical grade chemicals or           12           MR. BENSON: I just read from Wolff,
13   substances were used, that that should be          13       and he reviewed it and discussed it at
14   disclosed in the study protocol?                   14       length.
15          MS. PIPER: Objection. Dr. Trout has         15       Q. Isn't it true that Wolff explicitly
16       not had a chance to review this document       16   states that, when using non-pharmaceutical grade
17       and has not considered it in forming his       17   excipients, specific review and approval by the
18       opinion.                                       18   IACUC must be obtained?
19       A. I mean, again, I read the sentence as       19       A. Well, going back to Wolff, I mean,
20   such. I'm not sure of the broader context. And     20   that's one of three possibilities in -- in this
21   I think one would have to understand the -- the    21   list from Query 3 in the middle column on
22   document as a whole to interpret what a given      22   page 34. He discussed that there are other
23   sentence and given paragraph and given chapter     23   possibilities. And, again, these -- these are
24   means.                                             24   under a broader statement in Wolff.
25       Q. Well, the context as a whole is Wolff,      25       Q. Now, the very last -- one of the

                                         Page 104                                                Page 105
 1               Trout - Confidential                    1               Trout - Confidential
 2   sentences in Wolff that, you know -- in that        2   really says, "Although the potential animal
 3   first question, the second part of that that you    3   welfare consequences of complications are less
 4   noted was, it states: Please clarify whether        4   evident in non-survival studies, the scientific
 5   this -- and "this" is the use of                    5   issues remain the same."
 6   non-pharmaceutical grade excipients -- is an        6          That's what he says.
 7   allowable practice and whether it makes a           7       Q. Right. And the scientific issue is
 8   difference if the compounds are used in survival    8   that, all things being equal, if the
 9   versus non-survival experiments.                    9   pharmaceutical grade excipients is available,
10           Right?                                     10   that's what should be used. Isn't that what
11       A. Yes, that's what's written there.           11   Wolff is saying?
12       Q. What does Wolff say about that?             12          MS. PIPER: Objection to form.
13           Well, let me ask a different question.     13       A. I don't think Wolff says that.
14   Isn't it true that Wolff says that                 14       Q. Well, it says, Under certain
15   notwithstanding the use of non-pharmaceutical --   15   circumstances one could use non-pharmaceutical
16   of pharmaceutical grade excipients -- let me       16   grade excipients. Isn't it true that a person
17   rephrase that.                                     17   of ordinary skill in the art reading that would
18           Isn't it true that Wolff states that       18   say, generally you have to use pharmaceutical
19   it doesn't matter whether the studies are          19   grade excipients, under these circumstances
20   non-survival studies, the scientific principles    20   outlined here it may be justifiable to use
21   requiring the use of pharmaceutical grade          21   non-pharmaceutical grade excipients?
22   excipients is -- still remain the same?            22       A. Well, that's correct. But the -- the
23       A. You know, I think you're referring to       23   circumstances of Boschelli, because -- Boschelli
24   the next to the last sentence in the bottom. It    24   2001 are different, let's say, than other
25   doesn't quite say it the way you stated. It        25   circumstances.



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                                         Page 106                                                 Page 107
1               Trout - Confidential                    1              Trout - Confidential
2         Q. In what way?                               2    not. I don't have an opinion on that.
3         A. So -- okay. Just to clarify, and then      3       Q. I mean, isn't that what the, you know,
4    I'll segue to your question. So Wolff is           4    Guideline for the Use and Care of Animals is all
5    talking about a variety of different               5    about is protecting animals used in laboratory
6    circumstances. And -- and so -- and getting to     6    research?
7    your question, the circumstances around            7           MS. PIPER: Objection. Again,
8    Boschelli are that the animal experiments are      8       Dr. Trout has not had a chance to review
9    done on mice, and they're done early on in the     9       the entire Guideline for the Care and Use
10   discovery, as opposed to animal experiments that   10      of Laboratory Animals.
11   are done later, like, under preclinical context.   11      Q. You can answer the question.
12   And so -- so I think one has to take into          12      A. I -- I don't know. I'm not sure -- I
13   account those circumstances in understanding the   13   haven't read the whole -- and studied this whole
14   answer here in Query 3 in Wolff.                   14   document.
15        Q. What's the justification for using         15      Q. Research laboratories are required to
16   non-pharmaceutical grade excipients when you're    16   have a veterinarian on staff, right?
17   administering something to a living animal?        17          MS. PIPER: Objection. Outside the
18           Let me ask a different question.           18      scope of the Dr. Trout's opinion.
19   Don't researchers working with laboratory          19      A. I mean, I'm not sure what you mean.
20   animals have a duty to ensure that the research    20   Not all research laboratories. Maybe some.
21   they're doing causes the least possible harm to    21      Q. Do you have any understanding as to
22   the animal?                                        22   what are the requirements for providing
23           MS. PIPER: Objection. Outside the          23   veterinary care to laboratory animals?
24        scope of Dr. Trout's opinion.                 24          MS. PIPER: Objection. Outside the
25        A. I'm not sure if they have that duty or     25      scope of Dr. Trout's opinion.

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 1              Trout - Confidential                     1             Trout - Confidential
 2      A. I don't have an opinion on that.              2   in Boschelli as such. So I'm not sure, sitting
 3      Q. Would it change your -- you testified         3   here, how that hypothetical would change my
 4   earlier today that the pharmaceutical               4   opinions or not.
 5   compositions of the '625 patent are compositions    5      Q. Okay. You don't disagree the intent
 6   that are appropriate for human or veterinary        6   of administering the composition of Boschelli
 7   use, right?                                         7   was to inhibit tumor growth in the laboratory
 8      A. In Claim 1 of the '625, yes, it's my          8   mice, right?
 9   understanding.                                      9          MS. PIPER: Objection. Outside the
10      Q. And if -- if laboratory animals are          10      form -- scratch that. Objection. Outside
11   under the care of veterinarians who are            11      the scope of Dr. Trout's opinion.
12   overseeing the medicines being administered to     12      A. I don't think I opined upon the
13   animals, isn't that veterinary care?               13   intention as such.
14          MS. PIPER: Objection to form. And           14      Q. You said that the animals weren't
15      objection. Outside the scope of                 15   being treated; is that right?
16      Dr. Trout's opinion.                            16      A. I believe that's what I said. I may
17      A. I don't have an opinion on that              17   have said more and qualified that. But I think
18   matter.                                            18   what I said is they're not -- stick maybe to
19      Q. Okay. Would it change your opinion if        19   what -- my original answer, but they're not
20   the animals in this particular study were --       20   intended to be treated to cure disease. They're
21   were under the care of a veterinarian and the      21   intended to test different hypotheses, and --
22   procedures were being overseen by a                22   and in the end to be sacrificed.
23   veterinarian?                                      23      Q. How does that matter to an
24      A. I mean, I would have to -- I would           24   anticipation argument on a claim that doesn't
25   take that into account. There's no disclosure      25   require or include a limitation that is a method



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                                         Page 110                                                Page 111
 1             Trout - Confidential                      1             Trout - Confidential
 2   of treating --                                      2       Q. And the second issue, is the amount of
 3          MS. PIPER: Objection to form. And --         3   bosutinib a CML inhibiting amount?
 4       Q. -- an animal?                                4          MS. PIPER: Objection. Outside the
 5          I mean, the claim doesn't say -- let         5       scope of Dr. Trout's opinion.
 6   me -- you know, let me ask it in a different        6       Q. Right?
 7   way, and namely first by directing you to the       7       A. That's part of the claim, and I didn't
 8   claim at issue. You can go back to -- I believe     8   opine upon the CML inhibiting amount.
 9   it was at paragraph 40 --                           9       Q. Okay. So your entire opinion is based
10       A. 42.                                         10   solely on whether it's a pharmaceutical
11       Q. 42. Thank you.                              11   composition, correct?
12          The claim itself is just, "A                12       A. It being the -- what's disclosed in
13   pharmaceutical composition comprising a CML        13   the Boschelli 2001. That was the focus of my
14   inhibiting amount of bosutinib."                   14   opinions.
15          Right?                                      15       Q. Okay. So I'll ask that again in a
16          MS. PIPER: Objection to form.               16   better way, and you're right. So your opinion
17       A. I think that's what it says, yes,           17   is focused solely on whether or not the
18   pharmaceutical composition --                      18   composition of Boschelli is a pharmaceutical
19       Q. So the only issue is, is the                19   composition as that term has been construed by
20   composition in Boschelli a pharmaceutical          20   the Court in this case, correct?
21   composition, right?                                21       A. Well, that's correct in specifically
22          MS. PIPER: Objection to form.               22   responding to Dr. -- some of Dr. Lindsley's
23       Q. That's one issue, correct?                  23   opinions in that regard, but that's the focus of
24       A. Yes, that's the -- the major issue          24   my report, though.
25   that I opined upon.                                25       Q. And just for clarity, you do not give

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 1             Trout - Confidential                     1                Trout - Confidential
 2   an opinion as to whether or not the bosutinib in   2    construction is, "A pharmaceutically acceptable
 3   the Boschelli composition is a CML inhibiting      3    composition containing the specified compound,"
 4   amount of bosutinib, correct?                      4    in this case bosutinib, "and one or more
 5      A. That's correct. I do not have -- did         5    excipients."
 6   not express opinions about CML inhibiting          6            Right?
 7   amounts.                                           7        A. Yes.
 8      Q. Okay. All right. Now, so given your          8        Q. Okay. We agree the composition of
 9   opinion as focused solely on the pharmaceutical    9    Boschelli includes -- contains bosutinib, which
10   composition, I do want to return to paragraph      10   is under the Court's construction the specified
11   29, which includes the Court's construction.       11   compound, right?
12   And I just want to recapitulate where we are in    12           MS. PIPER: Objection to form.
13   agreement on pharmaceutical composition,           13       A. Well, I think -- if you're talking
14   specifically looking with reference to the         14   about a -- a chemical structure per se, which is
15   Court's construction. Okay?                        15   somewhat abstract, that's there. But, again,
16          MS. PIPER: Objection to form.               16   that's a -- whether it's an API and the -- the
17          MR. BENSON: That wasn't a question.         17   way it was made in Boschelli 2001 and the way it
18      Q. Okay. So the Court's construction --         18   was characterized, those are central aspects to
19          MR. BENSON: I'll give you a minute.         19   my opinions in this case.
20          MS. PIPER: Sorry.                           20       Q. Okay. I'll ask it again. I think my
21          MR. BENSON: That's quite all right.         21   question was a little bit cleaner. Namely, the
22      Those are unwieldy binders.                     22   composition of Boschelli contained bosutinib,
23          MS. PIPER: Okay. Thanks.                    23   right?
24          MR. BENSON: You're welcome.                 24       A. Again, I -- it would just stick to my
25      Q. Okay. So, again, the Court's                 25   answer. I think it's the same question, which



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 1               Trout - Confidential                   1             Trout - Confidential
 2   is that if you're just talking abstractly about    2   formula is an abstraction of what's there. It's
 3   the molecule, the chemical formula, that's what    3   maybe a model or an indication.
 4   is characterized as 31a in Boschelli 2001.         4       Q. It's a precise definition of what the
 5          But if you're talking about impurity        5   chemical entity is, right?
 6   profiles, acceptability as an API, and those       6          I mean, that's how you know what it
 7   aspects, which I think are important aspects       7   is. A chemist can read a chemical formula and
 8   of -- of what goes into a composition, then I      8   know exactly what it is, right?
 9   express a large number of opinions about that.     9          MS. PIPER: Objection.
10       Q. I understand, but that's not my            10       Q. It knows how many carbons, how many
11   question. My question is very simple. It's a      11   nitrogens, how many hydrogens, how many oxygens,
12   yes or no. Does the composition of Boschelli      12   right?
13   contain bosutinib?                                13       A. Yes, it allows you to count those.
14       A. And in your -- just to clarify in your     14       Q. Yeah, and the way that the -- the way
15   yes-or-no question, by "bosutinib," you mean      15   that the chemical formula is constructed, it
16   abstractly this chemical formula, which is an     16   also gives the chemist information as to how
17   abstraction of what a -- a chemical is, or do     17   those various atoms are connected to one
18   you mean bosutinib as would go into a             18   another, right?
19   pharmaceutical composition, or something else?    19       A. That's what a two-dimensional chemical
20       Q. I don't think -- I don't think the         20   representation does, yes.
21   chemical formula of bosutinib is an abstract in   21       Q. Okay. So the question is -- and we've
22   any way, shape, or form, is it?                   22   already agreed that that chemical formula in
23          MS. PIPER: Objection to form.              23   Claim 1 is bosutinib, right?
24       Q. I mean, that confuses me.                  24       A. Bosutinib the molecule, yes.
25       A. In my view as a chemist, a chemical        25       Q. That's right. That's what's stated

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 1              Trout - Confidential                    1                Trout - Confidential
 2   there. And that's what the claim is all about,     2            MS. PIPER: Objection to form.
 3   does it have that molecule? That's the             3        A. Well, in -- qualify in my opinion in
 4   compound, right?                                   4   reading this as a chemist, there -- there are
 5           MS. PIPER: Objection to form.              5   other parts like pharmaceutical composition.
 6       Q. That's what the claim is about, it's        6   But --
 7   about the compound bosutinib?                      7        Q. I'm not asking about those. I just
 8       A. It's not all about that, Counselor,         8   want a yes or no. Does the composition of
 9   no. It's about other -- there are other            9   Boschelli contain bosutinib? Yes or no?
10   elements, too.                                    10        A. It contains that molecule --
11       Q. Well, let's go back to the claim. The      11        Q. Thank you.
12   claim says, "A pharmaceutical composition         12        A. -- 31a, as I've testified to. 31a.
13   comprising a CML inhibiting amount of the         13        Q. Which is bosutinib, correct?
14   compound," and then it names the chemical         14            MS. PIPER: Objection to form.
15   formula which is bosutinib, right?                15        A. It's the bosutinib chemical, if we
16       A. Right, as the chemical.                    16   talk about it, that -- if that's the focus of
17       Q. That's the chemical, right. That's         17   it, it's -- but --
18   what I'm asking. That's bosutinib. That's what    18        Q. Let me do it a different way.
19   the claim is all about. It's not about an         19        A. Just to finish my answer, Counselor,
20   abstraction. It's not about whether or not it     20   please.
21   was pure or how it -- whether the column          21        Q. You know what? I -- I withdraw the
22   chromatography was done, you know, properly       22   question. Let me ask a different question.
23   or -- it doesn't matter. The question I have      23            Does the formulation, or -- strike
24   is, does the composition of Boschelli contain     24   that.
25   bosutinib?                                        25            Does the composition of Boschelli



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 1             Trout - Confidential                      1               Trout - Confidential
 2   contain 4-[(2,4-dichloro-5-methoxyphenyl) amino]    2       Q. Okay. And does the composition of
 3   -6-methoxy-7-[-3-(4-methyl-1-pyperazinyl)propoxy    3   Boschelli contain one or more excipients? Yes
 4   ]-3-quinolinecarbonitrile? Yes or no?               4   or no?
 5       A. Again, I'm not sure if you got all the       5       A. So, for example -- on page 15 of my
 6   brackets right, but we know it's written there.     6   report, 53, I talk about excipients as
 7   So what I'm trying to say is that the -- this       7   ingredients of a pharmaceutical composition
 8   particular compound as such is -- is part of        8   other than the active ingredient. From that
 9   what's in Boschelli Reference Number 31a.           9   standpoint since Boschelli does not contain
10       Q. So, yes, the composition of Boschelli       10   or -- is likely not to contain pharmaceutical
11                                                      11   compositions, and all the -- I mean, this is
     includes bosutinib, right?
12                                                      12   really the whole focus of my report, I would not
         A. If that's what we're defining
13                                                      13   call those excipients.
     bosutinib is, is that chemical formula.
14                                                      14       Q. Okay. So it is your opinion that the
         Q. Okay. Can you assume in the question
15                                                      15   composition of Boschelli does not include any
     I asked that when I say "bosutinib," I mean the
16                                                      16   excipients, right?
     chemical formula? I'm sorry. I thought that
17                                                      17       A. Well, again, there's no indication
     was clear. When I say "bosutinib," I mean that
18                                                      18   that what's included are pharmaceutically
     chemical formula. Okay? That's what I mean.
19
                                                        19   acceptable. Certainly TWEEN, dextrose, and
           MS. PIPER: Objection to form.
20
                                                        20   water can be excipients, and they're in the
         Q. Do you understand?
                                                        21   Handbook of Pharmaceutical Excipients. And
21       A. Yes.
                                                        22   they're likely on the GRAS list, as we discussed
22       Q. Okay. Does the composition of               23   earlier.
23   Boschelli contain bosutinib?                       24           But if we're defining as I do here
24       A. Again, under your definition, this          25   that they have to be in a pharmaceutical
25   chemical formula, yes.

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 1              Trout - Confidential                     1              Trout - Confidential
 2   composition for -- and this is just a summary       2       AFTERNOON SESSION
 3   statement for all the reasons which I discuss       3       (1:00)
 4   here, then they're not excipients as such           4   BERNHARDT TROUT, Ph.D.
 5   because it's not likely to be a pharmaceutical      5       resumed, having been previously duly
 6   composition.                                        6       sworn by a Notary Public, was
 7          Maybe if someone were to go back and         7       examined and testified further
 8   characterize it, and -- maybe they actually do      8       as follows:
 9   meet specs but there's no indication that they      9           THE VIDEOGRAPHER: The time is 1:00,
10   do, and so there's no indication that they're a    10       and we are back on the record.
11   pharmaceutical composition, or that they're        11   CONTINUED EXAMINATION BY MR. BENSON:
12   excipients that are ingredients of a               12       Q. Welcome back, Dr. Trout.
13   pharmaceutical composition.                        13       A. Thank you.
14       Q. Okay. One second.                           14       Q. So returning to the claim language,
15          THE COURT REPORTER: Counsel, when you       15   what -- and I know we talked about this earlier
16       get to a good moment, I could use a break.     16   in the context of what the term means generally
17          MR. BENSON: Yeah. That's what I was         17   to a person of ordinary skill in the art. But
18       getting at. Let's take a break.                18   what does a -- what does the term
19          THE VIDEOGRAPHER: The time is               19   "pharmaceutical" mean to you in the context of
20       11:59 a.m., and we are going off the           20   the claim at issue here; namely, Claim 1 of the
21       record.                                        21   '625 patent?
22          (Luncheon recess at 11:59.)                 22       A. So -- and I think it's important,
23                                                      23   Counselor, it's -- pharmaceutical composition go
24                                                      24   together here, and I use the construction
25                                                      25   that -- as I elaborate in paragraph 29 of my



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2    report that the Court construed. And so             2   together.
3    pharmaceutical composition is what the Court        3           And I can opine on -- or I can tell
4    construed and what's written there, "A              4   you, you know, broadly outside of the context of
5    pharmaceutically acceptable composition             5   this claim pharmaceutical by itself. But
6    containing the specified compound and one or        6   with -- within the claim, I think it has to go
7    more excipients.                                    7   with composition.
8       Q. Well, pharmaceutical is an -- it's an         8       Q. Well, but each word has its own
9    adjective, right? And it's modifying                9   meaning, right? I mean, the -- an adjective
10   composition?                                       10   pharmaceutical has a meaning separate and apart
11          MS. PIPER: Objection to form.               11   from the noun composition; isn't that correct?
12      A. Yes. And I guess it's an adverb as           12           MS. PIPER: Object to form. Objection
13   used by the Court's construction.                  13       to form.
14      Q. Okay. So in the context of its use in        14       A. I mean, obviously to the extent that
15   the claim, just pharmaceutical, I mean, what is    15   you're asking me a legal conclusion, I leave
16   your understanding of that -- the adjective?       16   that to the lawyers to decide. My understanding
17   What does it mean?                                 17   is that the way the Court looks at it, they go
18          I mean, adjectives in their own right       18   together. If you mean just broadly
19   have meaning, right?                               19   grammatically, that's correct, they're two
20          MS. PIPER: Objection to form.               20   separate words.
21      A. Well, I think pharmaceutical                 21       Q. And so what does pharmaceutical, the
22   composition go together, and my understanding is   22   adjective, mean to you? Again, just in your --
23   that that's, you know, a part of a -- a claim.     23   in the context of understanding this particular
24   And so if you're asking me about the specific      24   patent, what does that term mean to you
25   use in this claim, I think it has to go            25   "pharmaceutical"?

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 2        A. Again, you mean -- by "the context"        2    itself, namely bosutinib and one or more
 3   you mean not what's the word in the claim term     3    excipients, right?
 4   but just broadly within the context of the         4            MS. PIPER: Objection to form.
 5   patent? Or --                                      5        A. Right. I guess the specified compound
 6        Q. Right. Based on your reading of the        6    and one or more excipients in the specified
 7   patent, what is your understanding of what         7    compound is -- is, you know, a chemical term,
 8   pharmaceutical means?                              8    which we've been discussing, which -- you know,
 9        A. Okay. So if -- in the context of the       9    depends on how you want to define it. It's a --
10   patent, I think it's an adjective that modifies    10   a molecular formula which is related to the, you
11   composition. So composition is, you know,          11   know, active bosutinib, but abstracted from the
12   some -- let's say, as the Court construes, some    12   actual situation in which it's in, in which
13   mixture of different compounds, and the            13   there were impurities and there are other
14   specifics are there.                               14   aspects to it.
15            And then the pharmaceutical modifying     15       Q. Right. So -- but the -- what I'm
16   composition means that it's not just any           16   getting at is that we -- we have an
17   composition. It has to be a pharmaceutical         17   understanding, or I have an understanding as to
18   composition. And I discuss -- I mean, really,      18   what you're -- what you understand composition
19   my whole report is about that one term, and so     19   to mean in the context of the Court's
20   it's all -- all my opinions relate to, really,     20   construction; namely, it's a composition
21   that term.                                         21   containing bosutinib and one or more excipients,
22        Q. So we can agree that from the Court's      22   right?
23   construction, composition is just generally        23           So -- correct?
24   the -- a composition that contains the necessary   24       A. Well, again, we have been -- we were
25   components articulated in the construction         25   discussing this morning what bosutinib means,



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2    and we have to be clear from the context. I         2       Q. Okay. So we're in agreement on that,
3    mean, there's --                                    3   right? A composition is a -- according to the
4        Q. With all due respect, if I have not          4   claim is a composition -- now, again, I
5    been clear that when I say "bosutinib," I mean      5   understand your opinion about pharmaceutically
6    the chemical structure, the compound bosutinib,     6   acceptable, and we'll get to that. But just for
7    I apologize, but that's what I mean. I don't        7   clarity, a composition is a composition that
8    mean anything else. If I'm talking about            8   contains bosutinib and one or more excipients,
9    anything other than that, I will let you know.      9   right?
10   But there is -- here it's a compound. I mean,      10       A. Again, right, if you're defining
11   in the chemical arts, what does a compound mean?   11   bosutinib as this chemical formula. It's --
12       A. In the chemical arts, and I know it         12       Q. But what --
13   can be used differently in -- maybe legal or       13       A. Sorry. Can I just finish my sentence?
14   otherwise, but specifically in chemistry, a        14   Thank you.
15   compound is a -- let's say a defined set of        15       Q. Yes.
16   atoms which are connected through chemical         16       A. Because -- I mean, that -- but that's
17   bonds.                                             17   a key point of my opinions is that if you're
18       Q. Okay. And that is exactly the way I'm       18   talking about it as an API, or as a potential
19   using bosutinib here because the composition --    19   ingredient that could be pharmaceutically
20   the elements of the composition pursuant to the    20   acceptable or not, then it's not just the
21   Court's construction is, it contains a specified   21   specific compound with a -- a specific molecular
22   compound, which is bosutinib, the compound, as     22   formula. It's abstracted from the real
23   that is used in -- in chemistry and one or more    23   situation of impurity profile and the way it's
24   excipients, right?                                 24   manufactured and whatnot.
25       A. Okay.                                       25       Q. Dr. Trout, I appreciate that you have

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2    opinions and that those -- the opinions relate     2    specified compound being that chemical structure
3    to that particular topic, but --                   3    that is articulated in the claim, and we agreed
4            MS. PIPER: Objection.                      4    that that structure was bosutinib, right?
5        Q. -- what I'm looking to is the Court's       5        A. Right, in the sense I'm happy to
6    construction that said a composition contains      6    consider this chemical structure that's in
7    the specified compound, right?                     7    Claim 1 to be bosutinib just with a -- you know,
8            And we just went through what is the       8    make sure that we agree that if we call that
9    compound. The compound here is bosutinib. And      9    bosutinib, that's that chemical structure per
10   it's a compound. It's not an API. It's not an      10   se, not another manifestation of that in a
11   aggregate of compounds and a bunch of other        11   particular environment.
12   garbage that may or may not be present. It's       12       Q. Right. But it -- correct me if I'm
13   the compound. And that's what I'm talking          13   wrong, but there is the question -- the question
14   about, the Court's construction.                   14   you're getting to is whether or not there is an
15           The Court's construction of the claim      15   inhibiting amount of CML -- a CML inhibiting
16   is a composition containing the specified          16   amount of the compound, right?
17   compound, which is bosutinib, right? The           17          MS. PIPER: Objection.
18   chemical entity, the compound, bosutinib, and      18       Q. It's, like, how much bosutinib is in
19   one or more excipients, right?                     19   there, and what does it look like, right?
20           MS. PIPER: Objection to form.              20          MS. PIPER: Objection. Outside the
21       Q. I mean, do you need to look at the          21       scope of what Dr. Trout opined on.
22   construction? Because it says "specified           22       Q. That's exactly right. You didn't
23   compound," and we agree that the specified         23   consider that at all, right? You didn't
24   compound -- I thought that was one of the very     24   consider how much bosutinib or -- is -- the
25   first things we did today is we talked about the   25   claim requires, right?



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 2          MS. PIPER: Objection. Outside the            2       Q. And we are. So a composition,
 3       scope of what Dr. Trout opined on.              3   according to the claim -- and then I want to get
 4       A. And I'm confused because there's             4   to your opinion which really relates to
 5   multiple questions --                               5   pharmaceutically acceptable, correct?
 6       Q. You didn't opine on how much bosutinib       6          MS. PIPER: Objection to form.
 7   has to be in the composition of the claim,          7       A. My opinion relates to -- I mean,
 8   right?                                              8   everything that I discuss in my report. And
 9          MS. PIPER: Objection to form.                9   pharmaceutically acceptable is a major part of
10       A. That's correct. I did not opine on a        10   it, and the specifics of the Boschelli reference
11   specific amount in this claim.                     11   is also a major part of it.
12       Q. So then I just want you to focus on         12       Q. Right. We agree that there is a
13   the compound itself, just bosutinib. Because       13   composition in Boschelli, right? I mean, we
14   the part of the claim that you did consider and    14   agreed about that this morning?
15   opine upon is pharmaceutical composition, and      15       A. Yes. We can call them a composition.
16   that part of the claim, that part which is all     16   There are a variety of compositions.
17   you've testified -- all your opinion relates to,   17       Q. Right. And the compositions contain
18   is that -- a pharmaceutically acceptable           18   bosutinib and one or more excipients, right?
19   composition containing the specified compound,     19       A. Again, if you are defining -- I mean,
20   bosutinib, and one or more excipients, right?      20   they contain other things potentially in them.
21       A. Yes, again, that's fine for a --            21   Those are the key aspects that we have been
22   defining bosutinib as the -- the chemical          22   focusing on, but my report -- I talk about the
23   formula --                                         23   impurity profiles and I talk about all kinds of
24       Q. And we are.                                 24   other aspects to -- to what's in there, even
25       A. -- which is in the claim.                   25   though they may not be explicitly stated.

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 2          And I talk about all the reasons why         2   aspects. It's not -- it's not so crystalized as
 3   there are other things in these -- these            3   such.
 4   non-pharmaceutical compositions, potentially        4       Q. Okay. So a pharmaceutical composition
 5   non-pharmaceutical compositions.                    5   does not have to be an FDA approvable
 6       Q. Right. It is your opinion that               6   composition, correct?
 7   pharmaceutically acceptable excludes any kind of    7           MS. PIPER: Objection to form.
 8   impurities in the composition, right?               8       A. Not necessarily. I think it -- I
 9       A. No, that's not what -- my opinion.           9   think that -- that certainly if it's FDA
10       Q. Okay. How much -- how many -- what          10   approvable -- I'm not sure what that means. If
11   level of impurities can one have in a              11   it -- but if it's FDA approved, let's say,
12   pharmaceutical composition?                        12   then -- then that -- that's certainly one
13       A. So my understanding as a technical          13   example, but that's not the only example.
14   expert is that there's a procedure that one        14       Q. Okay. So a pharmaceutical composition
15   would have to go through to determine and make     15   pursuant to the claims, in your opinion, does
16   the case for what's acceptable in a particular     16   not have to be a composition that would meet the
17   situation for a particular, you know, proposed     17   standards of FDA approval for a human drug,
18   active.                                            18   right?
19       Q. And your opinion relates on the things      19           MS. PIPER: Objection to form.
20   that a person of ordinary skill in the art has     20       A. Yes, that's correct.
21   to do to obtain FDA approval to sell a drug,       21       Q. Okay.
22   right?                                             22       A. Not necessarily. That's an example of
23          MS. PIPER: Objection to form.               23   what it could be.
24       A. No, that's -- that's -- I mean, that's      24       Q. Okay. So does it have to be a
25   part of it, but I talk a lot about a lot of        25   pharmaceutical composition that would meet the



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 2   standards for administering the composition to     2    kinds of animal studies. And -- and we talked
 3   an animal, for example?                            3    about what Boschelli 2001 is. And so it depends
 4           MS. PIPER: Objection to form.              4    what it's approved for.
 5        A. Again, I think that's another example      5       Q. What is IACUC? Do you know what that
 6   of what could be -- again, given my                6    stands for?
 7   understanding of the construction of this claim,   7       A. Yeah, it's -- I don't know off the top
 8   that would fall under a pharmaceutically           8    of my head but it's in Wolff -- it's the
 9   acceptable composition.                            9    Institutional Animal Care and Use Committees --
10        Q. Right. But the question is, does it        10   or Committee, I guess, without the S.
11   have to be a composition that would meet the       11      Q. So Institutional Animal Care --
12   standards of approval for a composition that       12      A. And Use Committee.
13   could be administered to an animal?                13      Q. -- and Use Committees.
14        A. I don't -- well, maybe potentially         14      A. Committees with plural.
15   approvable by -- by someone, but that's not --     15      Q. And what is your understanding of what
16   it's not like a threshold, or a, you know,         16   the role of the IACUC is in the context of a
17   rock-solid criterion.                              17   research laboratory?
18        Q. Okay. What if it's a -- what if it's       18          MS. PIPER: Objection. Outside the
19   a composition that the IACUC approves for the      19      scope of what Dr. Trout was asked to opine
20   administration to animals in a laboratory          20      on.
21   context? Would that meet the standard?             21      A. I don't have an opinion on that.
22        A. I'm -- I'm not sure if it would meet       22      Q. Do they have to approve protocols for
23   the standard. I would have to -- I would have      23   the administration of compositions to animals?
24   to understand the context and -- and what it was   24          MS. PIPER: Objection. Outside the
25   approved to do. And, again, there are different    25      scope of what Dr. Trout was asked to opine

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 2       on.                                            2    the '625 patent?
 3       A. I don't have an opinion on that.            3        A. In this hypothetical, I think it
 4       Q. Do pharmaceutical companies have            4    depends on the details and what it was approved
 5   IACUC -- let me ask that a different way.          5    for and the reason behind the approval. I --
 6   That's kind of a weird construction.               6    it -- the details are important.
 7           Do pharmaceutical companies have           7        Q. So you would have to know more
 8   Institutional Animal Care and Use Committees       8    details.
 9   within their organizations?                        9            What if -- what if the composition of
10           MS. PIPER: Objection. Outside the          10   Boschelli was approved by an Institutional
11       scope of Dr. Trout's opinion.                  11   Animal Care and Use Committee? Would that
12       A. I don't have an opinion on that.            12   change your opinion about whether or not that
13       Q. Do pharmaceutical companies employ          13   composition was a pharmaceutical composition?
14   veterinarians to oversee the care of the animals   14           MS. PIPER: Objection to form.
15   they may or may not be using in research?          15       A. If there's additional information
16           MS. PIPER: Objection. Outside the          16   regarding the Boschelli 2001 reference, I would
17       scope of Dr. Trout's opinion.                  17   certainly take that into account. I would have
18       A. It's not an opinion that I have.            18   to analyze that information to determine how
19       Q. Okay. All right. So if the                  19   that affects my opinions.
20   composition of -- well, if a composition           20       Q. Okay. So the -- so if, in fact, there
21   intended to be administered to laboratory          21   were evidence that the IACUC had approved of the
22   animals for the purpose of gauging its             22   composition being administered to the animals in
23   therapeutic potential is approved by the IACUC,    23   Boschelli, that could impact your opinion as to
24   would that composition be a pharmaceutically       24   whether or not that formulation in Boschelli was
25   acceptable composition pursuant to the claims of   25   a pharmaceutical composition, correct?



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 2           MS. PIPER: Objection to form.               2   asking is if it hypothetically had gone through
 3       A. It may or may not. If there's                3   the FDA approval, that's the only thing that I
 4   additional information about Boschelli outside      4   understand. Because -- and in --
 5   of the reference and the other references which     5       Q. Right. A composition could be a -- a
 6   I considered, I would take that into account.       6   composition according to the claims could be a
 7       Q. All right. So a pharmaceutical               7   composition that is being used for research
 8   composition as the Court has constructed it, as     8   purposes, right?
 9                                                       9           MS. PIPER: Objection to form.
     far as whether it's pharmaceutically acceptable,
10                                                      10       A. Well, it depends on what kind of
     it doesn't rise to the standard of something
11                                                      11   research. Broadly speaking, in its -- it's
     that would be approvable by the FDA for human
12                                                      12   possible.
     use, right? That's your testimony?
13                                                      13       Q. So if it's being administered to
             MS. PIPER: Objection to form.
14                                                      14   humans for the purposes of researching its
         A. I think my testimony as I gave it
15                                                      15   therapeutic potential, is it a pharmaceutical
     before is that that could be one example, but
16                                                      16   composition?
     there are other potential examples.
17                                                      17       A. Again, one would have to go through
         Q. Right. But the question is a little
18                                                      18   the same kind of analysis that I went through
     bit different. I just want to make sure I'm
19
                                                        19   in, whatever, 25 or so pages on the Boschelli,
     absolutely clear that it is not your opinion       20
20   that pharmaceutically acceptable means the              you know, given the details of this hypothetical
                                                        21   you're posing, to make an opinion upon that.
21   composition has to be a composition that would     22       Q. Okay. So based on that response then
22   be approvable by FDA for human use, right?         23   is it your opinion that it is possible that a
23           MS. PIPER: Objection to form.              24   composition being administered to patients in a
24       A. I'm not sure what it means that             25   Phase III clinical trial may not be
25   something is approvable. I think what you're

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1               Trout - Confidential                    1               Trout - Confidential
2    pharmaceutically acceptable pursuant to these      2        Q. Can you think of any example where
3    claims?                                            3    there's a composition administered to humans and
4           MS. PIPER: Objection to form.               4    it would not be pharmaceutically acceptable?
5        A. I mean, look, may, there's always some      5           MS. PIPER: Objection. Outside the
6    possibility. I would generally think that a        6        scope of Dr. Trout's opinion and report.
7    composition that's been approved to go through     7        A. I don't have an opinion about that per
8    Phase III trials would be pharmaceutically         8    se.
9    acceptable. There may be exceptions to that.       9        Q. Do you have any opinion about --
10   Again, you're asking a broad hypothetical. But     10   strike that.
11   generally, I would expect that that would be       11          Do you have any opinion about what a
12   pharmaceutically acceptable.                       12   composition administered to a laboratory animal
13       Q. Okay. Pushing that a little bit             13   would have to look like in order for it to be
14   further, would you assume a composition that has   14   considered pharmaceutically acceptable?
15   been approved to administer to a human in any      15       A. Yes. I think it would have to meet
16   clinical context would be pharmaceutically         16   some of the criteria, or the -- the bulk of the
17   acceptable?                                        17   criteria that I've gone through here in this
18          MS. PIPER: Objection. Outside the           18   report, which Boschelli doesn't meet any of
19       scope of Dr. Trout's opinion and...            19   those criteria I've talked about. I think it
20       A. Yeah, I didn't give an opinion about        20   would have to meet some of them. And, again, it
21   clinical broadly, and I'm trying to give           21   would depend on the context, what the study was
22   examples of what could be pharmaceutically         22   done for, and I would have to analyze those
23   acceptable. Again, the -- the focus on my          23   details.
24   report was on the Boschelli 2001, and, you know,   24       Q. Why does it matter what the study is
25   the analysis that I've done of that reference.     25   being done for, in your opinion?



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1               Trout - Confidential                    1               Trout - Confidential
2        A. Because it matters whether the study        2        outside the scope of Dr. Trout's opinion.
3    is attempting to treat animals or is basically     3        A. I mean, again, pharmaceutically
4    doing a study with hypotheses, for example,        4    acceptable composition, as I've discussed in my
5    about how chemicals work, leading to the           5    report, would have to meet the criteria that
6    destruction of those animals one way or another.   6    I've discussed.
7        Q. What in the Court's construction leads      7        Q. Okay. Well, let's see here. On
8    you to believe that pharmaceutically acceptable    8    page -- on paragraph 63 of your report, you say,
9    composition has to be one that is being            9    "Beyond meeting the specifications for the API
10   administered for the purposes of treating?         10   and excipients discussed above, a pharmaceutical
11       A. I did not say that it has to be.            11   composition as a whole must meet a variety of
12       Q. Okay.                                       12   specifications," and then you are referencing
13       A. I said that's a potential, you know,        13   U.S. Food and Drug Administration Q6A
14   example. But that's not really the threshold.      14   specifications, test procedures, and acceptance
15   I think the threshold is what I've gone through    15   criteria for new drug substances and new drug
16   in this report, and it has to, you know, meet      16   products.
17   some of the criteria. And I've discussed in        17           So do -- does a pharmaceutical
18   particular why Boschelli 2001 doesn't meet any     18   composition have to meet the specifications
19   of those criteria.                                 19   for -- that FDA sets forth for a new drug
20       Q. So a pharmaceutically acceptable            20   product?
21   composition could be a composition that's being    21       A. First of all, just to -- it continues,
22   administered to an animal even though it's not     22   what you read, to, colon, "Chemical Substances,"
23   being administered solely for the purposes of      23   the Q6A specifications for those. But, no, I'm
24   treating, right?                                   24   not saying that it has to meet Q6A.
25          MS. PIPER: Objection to form. And           25       Q. Okay.

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 1              Trout - Confidential                     1             Trout - Confidential
 2       A. I'm saying that's an example.                2   Intraperitoneally, right?
 3       Q. Okay. So the specifications for the          3       A. Well, also orally.
 4   pharmaceutical composition, as you state it         4       Q. And they were in multiple times for
 5   here, is going to be defined by the company         5   the single mouse, right?
 6   producing the pharmaceutical composition and is     6       A. Yes. For -- I mean, the -- there's
 7   going to take into account safety and efficacy,     7   some details in the different experiments but,
 8   right?                                              8   yes.
 9       A. Yes, that's what I've written.               9       Q. Did they kill the mice by
10       Q. Okay. So if -- if the Boschelli group       10   administering the drug?
11   decided that the specifications for the            11          MS. PIPER: Objection. Outside the
12   composition in Boschelli met what they define to   12       scope of Dr. Trout's opinion.
13   be acceptable for a pharmaceutical composition     13       A. The mice were meant to be sacrificed,
14   to administer to the animals, isn't it a           14   so they were eventually killed in these --
15   pharmaceutical composition, according to your      15       Q. Was the purpose of the drug -- to
16   own opinion?                                       16   administer the drug for the purpose of killing
17          MS. PIPER: Objection to form.               17   the animal?
18       A. No.                                         18          MS. PIPER: Objection. Outside the
19       Q. You don't deny the compositions of          19       scope of Dr. Trout's opinion.
20   Boschelli were given to the mice, right?           20       A. I think that the objective of the
21          MS. PIPER: Objection to form.               21   Boschelli study was not to kill the mice.
22       A. They were administered to the mice.         22       Q. What was the objective of the
23       Q. They were in administered --                23   Boschelli folks in administering the composition
24       A. They were administered to the mice.         24   containing bosutinib, TWEEN 80, and dextrose?
25       Q. Administered -- right.                      25          MS. PIPER: Objection. Outside the



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                                          Page 146                                                Page 147
 1             Trout - Confidential                      1            Trout - Confidential
 2      scope of Dr. Trout's opinion and report.         2      scope of Dr. Trout's opinion and report.
 3      A. I didn't speak in my report about the         3      A. That's correct. I've not expressed an
 4   specific objective, so I didn't express an          4   opinion about that. I do not have an opinion on
 5   opinion about that.                                 5   that.
 6      Q. Okay. Right. So you don't know                6      Q. Okay. Do you have an opinion as to
 7   whether they -- you don't have an opinion as to     7   whether -- strike that.
 8   whether or not they were administering the          8          And you also don't have an opinion as
 9   composition for the purposes of assessing the       9   to whether or not the composition was, in fact,
10   composition's potential to inhibit CML tumor       10   capable of inhibiting tumor growth in the mice,
11   growth, right?                                     11   right?
12          MS. PIPER: Objection. Outside the           12          MS. PIPER: Objection. Outside the
13      scope of Dr. Trout's opinion and report.        13      scope of Dr. Trout's opinion and report.
14      A. Are you quoting from somewhere?              14      A. That's right. I did not express an
15   Because I --                                       15   opinion about that.
16      Q. No. I was just asking a question.            16      Q. Okay. Okay. If you could -- you have
17      A. Okay. Could you repeat the question,         17   your report in front of you there?
18   please?                                            18      A. Yes.
19      Q. You don't have an opinion as to              19      Q. Okay. I'm just going to -- I have
20   whether the Boschelli scientists were              20   some questions about some of the language in
21   administering the composition described in that    21   your report.
22   reference for the purposes of assessing the        22          Well, before I do that, could I take
23   composition's potential to inhibit tumor growth,   23   you to Exhibit D in your binder, please.
24   right?                                             24      A. Okay.
25          MS. PIPER: Objection. Outside the           25      Q. I'm sorry. Exhibit DD.

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 1              Trout - Confidential                    1               Trout - Confidential
 2       A. Ah.                                         2    to this document, it's for humans.
 3       Q. Two Ds.                                     3        Q. Okay. And Phase III studies, what is
 4       A. Okay. I'm there.                            4    your understanding of what a Phase III study
 5       Q. Do you recognize this document?             5    would be, as that term is used in this document?
 6       A. Yes.                                        6        A. A Phase III study is another phase of
 7       Q. And what is this document?                  7    clinical studies used for pharmaceuticals.
 8       A. This is a -- FDA Guidance for Industry      8        Q. Okay. All right. And just for
 9   INDs for Phase II and Phase III Studies:           9    clarity then, it is not your opinion that a
10   Chemistry, Manufacturing, and Controls             10   pharmaceutically acceptable composition has to
11   Information.                                       11   be a composition that satisfies the requirements
12       Q. Okay. What are Phase II studies?            12   of FDA for use in Phase II studies, right?
13          MS. PIPER: Objection. Outside the           13          MS. PIPER: Objection. Outside the
14       scope of Dr. Trout's opinion and report.       14       scope of Dr. Trout's opinion and report.
15       A. And you mean just in general, or in         15       A. I didn't speak, I think, specifically
16   the context of --                                  16   about that, but this is an example, on the other
17       Q. In the --                                   17   hand, of -- of a composition that could meet the
18       A. -- my report in the case?                   18   criterion of pharmaceutically acceptable
19       Q. Sure. In the context of this                19   composition.
20   particular document, what is your understanding    20       Q. Okay. But it is possible that a
21   of what a Phase II study would be?                 21   pharmaceutically acceptable composition could be
22       A. So a Phase II study is part of the          22   one that does not meet the requirements for use
23   clinical studies that -- that can be performed.    23   in a Phase II study with humans, right?
24       Q. In -- in humans, correct?                   24          MS. PIPER: Objection. Outside the
25       A. Yes. In -- with this -- with respect        25       scope of Dr. Trout's opinion and report.



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1               Trout - Confidential                    1                Trout - Confidential
2        A. I think my opinion was only about an        2    compositions or not. So that was really what my
3    example of what could -- in this context what      3    report was about.
4    could fall under pharmaceutical --                 4        Q. And your opinion about that is that,
5    pharmaceutically acceptable excipient.             5    A, you don't know whether the -- the API used in
6        Q. Pharmaceutically acceptable                 6    that composition was sufficiently pure to meet
7    excipient --                                       7    the standard of pharmaceutically acceptable,
8        A. Pharmaceutically acceptable                 8    right?
9    composition. Thank you.                            9            MS. PIPER: Objection to form.
10       Q. So your opinion was, it was limited --      10       A. I don't know if I would summarize it
11   so if I understand you correctly, your opinion     11   so cursorily. I have many pages on this. I
12   was essentially to establish a pharmaceutical      12   mean, for example, in paragraph 69 it says, "As
13   composition that you have confidence would meet    13   explained in more detail below," but it's kind
14   the standard of pharmaceutically acceptable as     14   of a summary statement on one aspect, "the
15   that term is used in the patent?                   15   chemical synthesis disclosed in Boschelli 2001
16           MS. PIPER: Objection to form.              16   was not designed to lead to and likely not would
17       A. No, I wouldn't say it exactly that          17   have led to a pharmaceutically acceptable API."
18   way. No.                                           18           So I don't know if I would summarize
19       Q. Okay. How did I get that wrong?             19   it just in a sentence as you did.
20       A. So my opinions in this report discuss       20       Q. Okay. So -- well, that was one of the
21   the kind of issues that the person of ordinary     21   things that I wanted to ask you about.
22   skill in the art would -- would think about and    22           So you say it would not -- would --
23   engage in in analyzing whether a particular        23   likely would not have led to a pharmaceutically
24   reference, Boschelli 2001 specifically,            24   acceptable API. So you don't -- you don't
25   discloses pharmaceutically acceptable              25   foreclose the possibility that it was, in fact,

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 1              Trout - Confidential                     1             Trout - Confidential
 2   a pharmaceutically acceptable API that was used     2   don't -- well, I guess you don't have an opinion
 3   in the composition of Boschelli, correct?           3   as to what their intention was with respect to
 4           MS. PIPER: Objection to form.               4   this composition. But certainly they say in the
 5       A. It's -- you know, it's possible. What        5   Boschelli reference that their purpose was to
 6   I say -- that's why I wrote here, it -- it was      6   administer the composition to animals to gauge
 7   not designed to and likely would not have led to    7   the potential of the API to inhibit tumor
 8   a pharmaceutically acceptable API. In other         8   growth, right? That's what they say?
 9   words, I didn't say it's absolutely certainly       9          MS. PIPER: Objection to form.
10   did not -- likely would not have led to and was    10       Objection that this is outside the scope of
11   not designed to lead to.                           11       Dr. Trout's opinion and report.
12       Q. So what gave you the opinion that it        12       A. As you said, I don't have an opinion
13   was not designed to lead to a pharmaceutically     13   on that particular subject.
14   acceptable API?                                    14       Q. Okay. So one thing you do -- an
15       A. Well, I expressed that in multiple          15   opinion you give regarding the API is that when
16   pages, from my experience in pharmaceutical        16   creating a pharmaceutically acceptive active
17   manufacturing research and with pharmaceutical     17   appropriate particle size and type, pressure,
18   manufacturing, and from the references that --     18   column length, and flow rate must all be taken
19   that I've included here in multiple paragraphs     19   into account.
20   in this report, what's disclosed in Boschelli      20          Right? You say that at paragraph 71?
21   2001 do not -- were not designed and -- to lead    21          MS. PIPER: Objection to form.
22   to and likely would have not led to a              22       A. Right. I think that you substantially
23   pharmaceutically acceptable API. So those are      23   read what I say at the bottom of page 22 in the
24   the categories of bases for that opinion.          24   middle of paragraph 71, and it has to be
25       Q. Yeah, it's interesting, I mean, you         25   understood in the context of the paragraph in



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                                         Page 154                                                Page 155
1               Trout - Confidential                     1              Trout - Confidential
2    the section, too, but that's I think                2   a pharmaceutically acceptable composition.
3    substantially what's written there.                 3       Q. But what they say is that the residue
4        Q. So is it your opinion a                      4   is purified by column chromatography, right?
5    pharmaceutically acceptable active is one           5          MS. PIPER: Objection to form.
6    wherein the particle size of the active is          6       Q. I mean, isn't that what they say,
7    known?                                              7   purified?
8        A. I don't have an opinion about that. I        8          MS. PIPER: Objection to form.
9    wanted to emphasize this appropriate -- I           9       A. I mean, that's what's written there,
10   think -- this appropriate particle size we're      10   and I discuss this in my report.
11   talking about within the context of column         11       Q. You don't believe them?
12   chromatography, I'm talking about the particles    12          MS. PIPER: Object to form. And
13   in the chromatographic equipment.                  13       outside the scope of Dr. Trout's opinion.
14       Q. Okay. What, if anything, do you know        14       A. I'm -- I don't -- I -- I see what's
15   about the particle size and type in the column     15   written there, and I -- I certainly believe
16   chromatography apparatus used in Boschelli?        16   them. I think the important thing is to
17       A. Well, Boschelli, for example, on            17   understand the context of this purification.
18   page 3974, on the right column, the last full      18   And I -- you know, I discuss this in multiple
19   example, which references 31a, and I think I       19   paragraphs, and I -- around paragraph 71 that we
20   quote it in my report, too, but it says, "The      20   discussed, and before that in paragraph 70,
21   residue is purified by column chromatography,"     21   and -- and beyond.
22   and the sentence continues.                        22          But I think it's important, in
23          And so Boschelli doesn't disclose           23   answering your question, in paragraph 70, I
24   that, and these are the kind of things that one    24   start out, "A POSA reading Boschelli 2001 would
25   would expect to be disclosed if one were to make   25   conclude that Compound 31a was synthesized

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 1                                                       1             Trout - Confidential
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 2   without much attention paid to purification or      2          MS. PIPER: Objection. Outside the
 3   to any of the specifications required for active    3       scope of Dr. Trout's opinion and report.
 4   compounds that are to be included in a              4       A. I haven't done that analysis, and I
 5   pharmaceutical composition," and I go on.           5   don't have an opinion on that.
 6           So they purified it for a certain           6       Q. Okay. Let's say for the sake of
 7   purpose, but not for the purpose of creating a      7   argument the TWEEN 80 used in the composition of
 8   pharmaceutical composition based on their           8   Boschelli was not pharmaceutical grade TWEEN 80,
 9   disclosure.                                         9   at the time of the invention would a person of
10       Q. Okay. They don't say that, right?           10   ordinary skill in the art have been able to
11   They don't say, we purified it -- strike that.     11   formulate a composition that included
12           Boschelli doesn't say they made a          12   pharmaceutical grade TWEEN 80?
13   crude purification of bosutinib, right?            13          MS. PIPER: Objection. Outside of the
14       A. Correct. So I mean, citing that,            14       scope of Dr. Trout's opinion and report.
15   those are not the words that they use.             15       A. I didn't express an opinion on that
16       Q. Okay. Now, let me ask you a different       16   issue.
17   question. Let's say for the sake of argument       17       Q. Okay. Then let me ask you this
18   that it wasn't purified to the standards that      18   question. At the time of the invention, could a
19   would be required for a pharmaceutically           19   person of ordinary skill in the art have
20   acceptable active. At the time of the invention    20   reproduced the composition of Boschelli in such
21   here, would a person of ordinary skill in the      21   a way that it would meet the standard of a
22   art have been able to synthesize bosutinib and     22   pharmaceutically acceptable compound or
23   purify it to a standard that would be -- would     23   composition as you understand that claim to
24   render it acceptable for use in a                  24   require?
25   pharmaceutically acceptable composition?           25          MS. PIPER: Objection. Outside the



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                                         Page 158                                                Page 159
1              Trout - Confidential                     1                Trout - Confidential
2        scope of Dr. Trout's opinion and report.       2            MS. PIPER: Objection to form.
3        A. I don't have an opinion on that.            3         Q. And my question to you is, it likely
4        Q. Okay. What are the pH requirements          4    would have been addressed but is it your opinion
5    for a suspension being administered ip?            5    that it's not necessary in all circumstances for
6           MS. PIPER: Objection. Outside the           6    such things to be addressed?
7        scope of Dr. Trout's opinion and report.       7         A. Right. That's why I say "likely."
8        A. I didn't express a -- such opinions.        8    I'm not saying it's absolutely necessary. I say
9    I don't have an opinion on that.                   9    that it's likely. And, again, this is one part
10       Q. Are you aware of any pharmaceutically       10   of the totality of the evidence which led me to
11   acceptable compositions with a pH of               11   my conclusion.
12   approximately 5.9 that have been administered to   12        Q. Okay. So is it possible that it
13   animals ip?                                        13   wasn't necessary for pH adjustment to be
14          MS. PIPER: Objection. Outside the           14   addressed in the composition of Boschelli?
15       scope of Dr. Trout's opinion and report.       15           MS. PIPER: Objection. Outside the
16       A. To the extent that you're not talking       16        scope of Dr. Trout's opinion.
17   about my paragraph 77, I don't have an opinion     17        A. Frankly, I don't understand the
18   on it. I mean, the pH 5.9 is in my paragraph       18   question. But to the extent that I do, I think
19   77.                                                19   it's outside of my scope of my opinions.
20       Q. So this is something -- again, in --        20        Q. To make sure that I understand, let me
21   sticking to paragraph 77, you say, "Were the       21   rephrase the question. Can you envision a
22   Boschelli composition intended to be a             22   scenario wherein it would not have been
23   pharmaceutical composition, potential issues       23   necessary for the investigators in Boschelli to
24   such as choosing a desired pH and maintaining it   24   adjust the pH of the composition they use to
25   would have likely been addressed."                 25   administer to the mice?

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 1               Trout - Confidential                    1                Trout - Confidential
 2       A. I don't think I talk about adjustment        2   that term in paragraph 79.
 3   of pH. But I'm -- maybe if you could -- we're       3        A. Okay. So just -- not -- I'm sorry.
 4   still talking about paragraph 77?                   4   I'm confused.
 5       Q. Uh-huh.                                      5        Q. I'm just asking, what is your
 6       A. Again, my opinion is, potential issues       6   understanding of the term "tonicity"? What does
 7   such as choosing a desired pH and maintaining it    7   that mean?
 8   would have likely been addressed, even reporting    8        A. Outside of the scope of my report but
 9   it potentially. So that's what my opinion is        9   just generally?
10   about.                                             10        Q. I mean, specifically as you use it in
11       Q. Okay. At the time of the invention          11   your report. You use the term, so I just want
12   would persons of ordinary skill in the art know    12   to understand what it means to you.
13   how to choose and maintain the pH level for a      13        A. Okay. What it means is a -- a
14   pharmaceutical composition?                        14   particular, let's say, concentration of -- of,
15       A. I mean, I -- I think it depends on the      15   let's say, a -- an aqueous solution, the
16   details. My point here -- in general, it might     16   different concentration of the solutes in that
17   or might not. My point here is that it -- it       17   solution leading to a value tonicity usually
18   doesn't even seem to be in the minds of the        18   measured in particular units like milliosmoles,
19   authors of the paper, and it's something that      19   which is a measure of how -- how much solutes,
20   would have been -- would have come to mind         20   I'll say it that way, are in the solution,
21   potentially or likely have been addressed.         21   concentration of such.
22       Q. What is tonicity?                           22           MR. BENSON: Okay. Why don't we
23       A. And I think you're referring, just to       23        take -- I think I'm almost finished. Why
24   clarify, to my paragraph 79?                       24        don't we take a short break, and I'll just
25       Q. Just generally. But, yes, you do use        25        confer with my colleagues here. And we'll



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                                         Page 162                                                 Page 163
 1               Trout - Confidential                   1              Trout - Confidential
 2      come back and finish up. Okay?                  2       Q. And then next it says, "The apoptotic
 3          THE WITNESS: Okay.                          3    activity of the compounds against CML cells in
 4          THE VIDEOGRAPHER: The time is               4    culture is mirrored by its activity in vivo
 5      1:58 p.m., and we are going off the record.     5    against CML xenografts."
 6          (Recess from 1:58 to 2:14.)                 6           Right?
 7          THE VIDEOGRAPHER: The time is               7       A. Yes, that's what's written.
 8      2:14 p.m., and we are back on the record.       8       Q. And it says, "The K562 tumors regress
 9      Q. Okay. Just a few more questions.             9    in nude mice when the compounds are administered
10          The patent in -- at issue here, the         10   p.o. once a day."
11   '625 patent, also describes xenograftic studies    11          Right?
12   using bosutinib with mice, correct?                12      A. Yeah, I mean, just -- since you're
13          I'll direct you to, for example,            13   quoting didn't say "the" but, yeah,
14   Column 13.                                         14   substantially that's right.
15      A. Yes. I see that, Column 13 and 14,           15      Q. What does p.o. stand for? Do you
16   yes.                                               16   know?
17      Q. Okay. So it says that the -- "The            17          MS. PIPER: Objection. Outside the
18   compounds of formula 1 ('the compounds'),          18      scope of Dr. Trout's opinion.
19   originally identified as a Src inhibitor, are      19      A. I -- I guess it's outside of my
20   shown here to be a potent anti-proliferative and   20   opinion.
21   proapoptotic agent against CML cells in            21      Q. Okay. I didn't really ask your
22   culture."                                          22   opinion. I just asked if you knew. You can
23          Right? Did I read that correctly?           23   answer.
24      A. Yes, that's what's written there.            24      A. Yes, I know.
25   Yes.                                               25      Q. Okay. What does it mean?

                                         Page 164                                                 Page 165
1              Trout - Confidential                      1              Trout - Confidential
2       A. I think it means oral administration.         2       A. Or maybe not an abbrev -- a shortened
3       Q. Thank you.                                    3   version of methylcellulose.
4          Now, let's go over to Column 14. It           4       Q. And would this -- the .4 percent
5    says here -- now, this is describing the nude       5   methocel/.5 percent TWEEN, is this a -- is there
6    mice data with the CML cell xenografts, correct?    6   also water in this composition, as far as you
7          Beginning at about, looks like line 3?        7   can understand?
8          MS. PIPER: Objection. Outside of the          8           MS. PIPER: Objection. Outside the
9       scope of Dr. Trout's opinion and report.         9       scope of Dr. Trout's opinion and report.
10      A. Yeah, I don't have an opinion on what        10       A. I didn't analyze it as such.
11   kind of cells those were.                          11       Q. Would you expect, based on the
12      Q. Okay. All right. Well, that's fine.          12   description here, that there's also water in
13         It says here that -- the very last           13   this composition?
14   sentence says, "The compound of Example 1 was      14           MS. PIPER: Objection. Outside the
15   administered p.o. in 0.4 percent                   15       scope of Dr. Trout's opinion and report.
16   methocel/0.5 percent TWEEN at 75 mg/kilogram       16       A. I didn't offer an opinion about what
17   once a day for 5 days (8 mice/group)."             17   else is in the -- in this compound of Example 1,
18         Did I read that correctly?                   18   and -- and the other things.
19      A. Yes.                                         19       Q. Well, let me ask you this. This
20      Q. Do you know what methocel is?                20   composition that's described here in Column 14,
21      A. Yes.                                         21   is that a pharmaceutically acceptable
22      Q. What is it?                                  22   composition?
23      A. It's a -- an abbreviation for                23           MS. PIPER: Objection. Outside the
24   methylcellulose.                                   24       scope of Dr. Trout's opinion.
25      Q. Okay.                                        25       A. I don't have an opinion about whether



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                                        Page 166                                                       Page 167
 1             Trout - Confidential                     1          Trout - Confidential
 2   that's pharmaceutically acceptable or not.         2       THE VIDEOGRAPHER: The time is
 3      Q. What would you need to know to make          3    2:20 p.m., and this ends the deposition of
 4   that determination?                                4    Bernhardt Trout.
 5      A. Well, I would need to do a similar           5       (Time noted: 2:20 p.m.)
 6   kind of analysis as to what's in my report, the    6
 7   analysis that I did for the Boschelli 2001.        7
 8          MR. BENSON: Okay. I don't think I           8
 9      have any further questions for you,             9
10      Dr. Trout. Thank you very much for your        10
11      time.                                          11                 ------------------------
12          THE WITNESS: You're welcome.               12                 BERNHARDT TROUT, Ph.D.
13          THE VIDEOGRAPHER: Is that it?              13            Subscribed and sworn to before me
14          MR. BENSON: Before we go off the           14            this day of         2019.
15      record, do we -- let's designate -- we'll      15
16      designate this as confidential. I don't        16
17      think there's anything but we'll just go       17
18      through it and double-check, but for the       18
19      time being we'll just designate it as          19
20      confidential.                                  20
21          (Continued on following page to            21
22      include jurat.)                                22
23                                                     23
24                                                     24
25                                                     25



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2                                                       2    ----------------------INDEX---------------------
              CERTIFICATE
3                                                       3   WITNESS                    EXAMINATION BY PAGE
                                                        4   BERNHARDT TROUT, Ph.D. MR. BENSON                       5
4    STATE OF NEW YORK )                                5   ---------------------EXHIBITS--------------------
                   ) Ss.:                               6
5                                                           NUMBER               DESCRIPTION                  PG LN
     COUNTY OF NEW YORK )                               7   Exhibit 1 Dr. Trout's expert report, 9 23
6          I JEFFREY BENZ, a Certified Realtime                        including exhibits
7      Reporter, Registered Merit Reporter and          8
8      Notary Public within and for the State of            Exhibit 2 Opening expert report of 57 14
9      New York, do hereby certify:                     9           Craig W. Lindsley, Ph.D.
10         That BERNHARDT TROUT, Ph.D., the                         and reply expert report of
11     witness whose examination is hereinbefore       10           Craig W. Lindsley, Ph.D.
12                                                     11   Exhibit 3 Guide for the Care and Use 93 24
       set forth, was duly sworn by me and that
13     this transcript of such examination is a                     of Laboratory Animals
                                                       12
14     true record of the testimony given by such      13
15     witness.                                        14
16         I further certify that I am not             15
17     related to any of the parties to this           16
18     action by blood or marriage; and that I am      17
19     in no way interested in the outcome of this     18
20     matter.                                         19
21         IN WITNESS WHEREOF, I have hereunto         20
22     set my hand this 14th of August, 2019.          21
23                                                     22
                   -------------------------
24                                                     23
                   JEFFREY BENZ, CRR, RMR
                                                       24
25
                                                       25




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                                                    Page 170
1
2          ERRATA SHEET FOR THE TRANSCRIPT OF:
3    Case Name: Wyeth LLC v. Alembic Pharmaceuticals
4    Dep. Date: August 7, 2019
5    Deponent: Bernhardt Trout, Ph.D.
6
7    Pg. Ln.   Now Reads Should Read      Reason
8    ___ ___    ______________ ________________    _______
9    ___ ___    ______________ ________________    _______
10   ___ ___    ______________ ________________    _______
11   ___ ___    ______________ ________________    _______
12   ___ ___    ______________ ________________    _______
13   ___ ___    ______________ ________________    _______
14   ___ ___    ______________ ________________    _______
15   ___ ___    ______________ ________________    _______
16   ___ ___    ______________ ________________    _______
17   ___ ___    ______________ ________________    _______
18   ___ ___    ______________ ________________    _______
19

                  __________________________
20                Signature of Deponent
21   SUBSCRIBED AND SWORN BEFORE ME
22   THIS ____ DAY OF ______________, 2019.
23

     _______________________________________
24

     (Notary Public) MY COMMISSION EXPIRES: _______________
25




                                                                              44
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